Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 1 of 221

EXHIBIT “F”
 

 

Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 2 of 221

Christoph J. Flaherty, P.E.

 

10
11
12
13
14
15
16
17
18
19
20
21
22
23

24

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANTA

ALLSTATE INSURANCE >: NO. 2:19-CV-03529
COMPANY A/S/O THOMAS
and LISA ELLIS,

Plaintiffs,

LG ELECTRONICS USA,
INC.,

Defendant.

Thursday, January 7, 2021
Remote videoconference deposition
of CHRISTOPH J. FLAHERTY, P.E., taken
pursuant to notice at the location of the
witness in Severna Park, Maryland on the
above date, beginning at 10:25 a.m.,
before Jared E. Bittner, RPR, CSR (NJ).

GOLKOW LITIGATION SERVICES, INC.
(877) 370-3377 / fax (917) 591-5672
deps@golkow.com

 

Golkow Litigation Services

 

 

 
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 3 of 221
Christoph J. Flaherty, P.E.

1 APPEARANCES: (Via Zoom)

2 JOSEPH L. McGLYNN, ESQUIRE
de Luca Levine

3 Three Valley Square, Suite 220
Blue Bell, Pennsylvania 19422

4 jmceglynn@delucalevine.com
215-310-4731

5 Counsel for Plaintiffs

6 WARREN E. VOTER, ESQUIRE
Sweeney & Sheehan, P.C.

7 1515 Market Street, Suite 1900
Philadelphia, Pennsylvania 19102

7 warren.voter@sweeneyfirm.com
215-963-2439

9 Counsel for Defendant

10 - 2 8

11

12

13

14

15

16

17

18

19

20

21

22

23

24

 

 

 

Golkow Litigation Services Page 2

 
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 4 of 221

Christoph J. Flaherty,

1
2 WITNESS:
7 CHRISTOPH J.
4 By Mr.
° By Mr.
6
5

EXHIBIT
8

Flaherty-1l
9
10

Flaherty-2
11

Flaherty-3
12
13

Flaherty-4
14

Flaherty-5
15
16

Flaherty-6
7
18
19
20
21
22
23

24

P.E.
INDEX
FLAHERTY, P.E.

Voter 4,
McGlynn

162,
141,

DESCRIPTION

11/06/20 Flaherty
Engineering Investigation
Report

Curriculum Vitae

Four Page List of Expert
Testimony Given by
Christoph J. Flaherty, PE
Photograph

Printed Document with

Dropbox Link

(Confidential - Retained)

Hand-drawn Diagram

Golkow Litigation Services

PAGE

172
168

PAGE

85

84

84

33

84

Lil

Page 3

 
 

Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 5 of 221
Christoph J. Flaherty, P.E.

1 COURT REPORTER: All parties
2 to this deposition are appearing

3 remotely and have agreed to the

4 witness being sworn in remotely.

9 Due to the nature of remote

6 reporting, please pause briefly

q before speaking to ensure all

8 parties are heard completely.

9 Counsel, please state your
10 appearance for the record.

tl MR. McGLYNN: Joseph McGlynn
= for the plaintiff.

13 MR. VOTER: Warren Voter for
14 the defendant.

15 = = =

16 ... CHRISTOPH J. FLAHERTY,

i P.E., having been duly

as sworn/affirmed, was examined and
~ testified as follows:

20 -- e

21 EXAMINATION

22 -

23 BY MR. VOTER:

24 Q. Okay. Mr. Flaherty, you've

Golkow Litigation Services Page 4

 
 

 

Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 6 of 221
Christoph J. Flaherty, P.E.

1 been deposed before, correct?

2 A. Yes.

3 Q. And you know what the

4 procedure is and the rules, correct?

9 A. Yes.

6 Q. You don't need me to explain
a them to you?

8 A. No, I don't think so.

9 Q. Okay. Let me first ask

10 whether you have made available your

11 entire file on this matter for today's
12 deposition.

13 A. I have.

14 Q. And is that file contained
15 within the link that Mr. McGlynn sent me,
16 do you know?

i A. Yes, that should be the

18 entire file.

19 Q. Okay. Has anything been
20 removed from that file before today's
21 deposition?

22 A. No.

23 Q. Is there anything that's
24 been added to that file since you wrote

 

 

Golkow Litigation Services Page 5
 

Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 7 of 221

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

Christoph J. Flaherty, P.E.

your report in this matter on November

6th, 2020?

A. Yes.

Q. What's been added to the
file?

A. The expert reports from Mr.

Nemeth and Mr. Smith and their CVs.

Q. Did you issue any new
reports since the November 6, 2020,
report?

A. No.

Q. Have you created any new
documents or materials relating to this
case since your November 6, 2020, report?

A. No.

Q. Your hesitation makes me
wonder whether there is something you're
thinking about.

A. I was thinking about whether
a to-do list might qualify as a document
or material.

Q. Did you create a to-do list?

A. I created a to-do list for

things to review prior to today's

Golkow Litigation Services Page

 
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 8 of 221

10

11

12

13

14

15

16

17

18

 

19

21

22

23

24

 

Golkow Litigation Services

Christoph J. Flaherty, P.E.

deposition.

Q. Okay. Aside from the --
well, what was on the to-do list?

A. Oh, review my -- review
reports, meaning my own report, Buckley's
report and your expert's reports, let's
see, go back to review a couple of the
photographs, and some documents regarding
the timeline of installation of thermal
protection.

Q. Which photos did you remind
yourself to review?

A. Some from Dr. Ferrese's
scene photographs and my own evidence
exam photographs.

Q. Do these relate to some
particular subject?

MR. McGLYNN: Objection.

You mean the subject within the

group of the photos or --

MR. VOTER: Yeah.
BY MR. VOTER:
Q. IT assume when you said you

added reviewing photos to your to-do

 

 

 

 
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 9 of 221
Christoph J. Flaherty, P.E.

 

 

 

1 list, the way you expressed it made me

2 think that you were reviewing specific

3 photos or photos that dealt with some

4 specific subject matter. Am I correct

2 about that?

6 A. Not more specific than the,

d you know, routing of electrical wiring,

8 the presence of circuits, and the

3 condition of the refrigerator at the time
10 of the scene inspection.

11 Q. How many photographs would
12 you estimate were encompassed by the

13 subjects you just described?

14 A. I would say, well --

15 MR. McGLYNN: Objection.
) ** THE WITNESS: Hundreds of

17 photographs encompass the subject.
18 I probably went through one to two
13 hundred just refreshing my memory.
20 BY MR. VOTER:
21 Q. Was that the only purpose in
22 doing it, to refresh your memory, or were
23 you looking for something specific?

24 MR. McGLYNN: Objection.
|
Po =

 

Golkow Litigation Services Page 8
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 10 of 221

 

10

il

12

13

14

15

16

17

 

18

19

20

21

22

23

24

 

Christoph J. Flaherty, P.E.

 

THE WITNESS: The -- I was
doing it both to refresh my memory
and to look for any evidence of
the thermal protection.

BY MR. VOTER:

Q. Did you find evidence of the
thermal protection in the photographs you
reviewed?

A. I found evidence similar to
that presented in photographs in the
defense expert's reports.

Q. Photographs of a thermal

protector, correct?

A. The photographs that show
what 1S -- yes.

Q. So the answer was yes?

A. Mes.

Q. Okay. You mentioned

documents related to timeline of thermal
protection. I think I got the gist of
that if not the exact way you expressed
it. What documents did you review?

A. I reviewed in my file that

you have the confidential LG production,

Golkow Litigation Services Page 9

 
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 11 of 221
Christoph J. Flaherty, P.E.

1 and they're Bates stamped. It looks like
2 30 pages Bates stamped between 648 and

3 678.

4 MR. McGLYNN: Can we just go
7 off the record for a second?

6 MR. VOTER: Sure.

7 MR. McGLYNN: Thanks.

8 (Discussion held off the

9 record.)

10 BY MR. VOTER:

11 Q. I said earlier, I forget if
12 we were on the record or not, but I have
13 received the file that Mr. McGlynn sent
14 me with 19 either folders or documents,

15 and each one is uniquely named. Do you
16 have that same array of folders and

1 contents in your file? Are you looking
18 at the same folders and document names?
19 A. Yes.

20 Q. Okay. Which one of these

21 has the Bates stamped document 648 to 678
22 that you referred to?

23 A. It's the document titled

24 "Light Overheating Issue."

 

Golkow Litigation Services Page 10

 

 
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 12 of 221

 

10

il

12

13

14

15

 

| 16

17

18

19

20

21

22

23

24

 

Golkow Litigation Services

Christoph J. Flaherty, P.E.

 

Q. Got it, okay. And can you
just take a look at it again just to
confirm that I'm looking at the same
thing you are?

A. T have it.

Q. Okay. So what I'm looking
at, the first page which is document 648,
it says "Exhibit A-Affected Models" and
it's a confidential -- there is a
confidential stamp, correct?

A. Wess §

Q. Okay. And then just to make
sure, the last page of that document --

A. Joe is -- I'm sorry. Joe
was waving, but I didn't hear him. I
don't know if he was trying to make an
objection and couldn't. I don't know
what.

MR. VOTER: Were you, Joe?

Joe, can you hear us? Can
you hear us?

(Recess; 10:35 a.m.)

(Resumed; 10:38 a.m.)

(The court reporter read

 

 

 

Page 11
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 13 of 221

10
11
} 12
13
14
15
16
17
18
19
20

21

 

22

23

:

Golkow Litigation Services

Christoph J. Flaherty, P.E.

 

back the preceding question and

answer.)
BY MR. VOTER:

Q. And the last page is titled
"Changed Parts" and it's document Bates
0678, correct?

A. YIelS

Q. And do you know what that

document is?

A. The -- the 31 pages
altogether?

Q. “4S 5

A. Only by looking at it. It
hasn't been reported to me as -- so, I

mean, I can tell you what I think it is
based on my review of it I guess.

Q. Okay. Go ahead.

A. It looks like records of
internal testing and investigation
performed by LG regarding what we're
referring to as the light overheating
issue.

Q. Based on your earlier

answers, I assume you've had this

 

 

 

Page 12
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 14 of 221
Christoph J. Flaherty, P.E.

 

1 document or collection of documents,

2 these 31 pages, in your file before you

3 wrote your report; is that correct?

= A. Yes.

5 Q. Did you review it before you
6 wrote your report?

7 A. Yes.

8 MR. VOTER: Let me just make
9 a comment for the record. These
10 materials as I understand it were
11 generated by LG Korea. My client
12 is LG Electronics USA, Inc.

13 For ease of reference, I

14 will probably refer at times to LG
15 without necessarily specifying

16 which one I'm talking about, so if
17 we're talking about any work that
18 was done with regard to the light
19 bulb issue, I'm referring to LG

20 Korea in case I forget to add the
= Korea to the end.

22 BY MR. VOTER:

23 Q. Okay. Let's go through the
24 rest of the file. So I have Buckley's

 

Golkow Litigation Services Page 13

 
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 15 of 221

10

11

 

12

13

14

15

16

17

 

18

19

20

21

22

23

 

24

Christoph J. Flaherty, P.E.

report, correct?

A. Yes.

QO. And then the next document,
I've got five documents or folders to a
line, and is that how you're looking at
them or you're looking at them in some
different way?

A. No. I'm looking at just a

Single list, top to bottom.

 

Q. Okay. So I'm going to read
you the titles of each and then you tell
me if you've got it and then what it is.

So the first one is
19-O33R3AllstateO537Ellis.PDF. Actually
the word "insured" might be in there,
too. Is that Buckley's report?

A. Yes.

QO. Okay. The next one I have
says 1505 Report Final. What's that?

 

A. That is the Word document
version of my report which includes only |
the text and no photographs.

Q. Okay. And then 1505 Report

Photographs, then it looks like Appendix |

 

Golkow Litigation Services Page 14
 

 

Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 16 of 221

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

Golkow Litigation Services

Christoph J. Flaherty, P.E£.

A, Report Photographs, and it looks like
one is a Word doc and there is a second

one that's a PDF, correct?

A. Correct.

Q. Are they the same documents?
A. Yess .

Q. Or same photographs. And

these are what's attached to the report

that was provided to me?

A. Yes.
Q. Okay. And then we've got
"Additional Docs." That's a folder, and

what is in there?
A. These are some additional
documents that were provided to me it

looks like at the end of August.

Q. And who provided them?

A. Well, I got them from Mr.
McGlynn.

Q. Okay. Do you know what they
are?

A. They're -- some of them are

records from a previous case involving

the -- an allegation of LG refrigerator

 

 

 

Page 15
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 17 of 221

 

1 light overheating issues.

2 Q. Well, it looks like we're

3 going to need to go through these

4 individually then.

9 Okay. In the folder called
6 "Additional Docs," there are 14

7 documents. The first one says "Allstate
8 v. LG Confidential Document."

9 Do you see that?

10 A. Yes,

11 QO. What is that?

12 A. The -- this is a copy of the
13 service flash that involved replacement
| i4 of the main control circuit board in the

15 LG manufactured refrigerator.

16 Q. And next I have "Exhibit A
1 Selected Photographs." What's that?

18 A. I think these are selected
19 photographs from a different case,

a previous fire involving an LG

24 refrigerator.

22 Q. And these were received from
23 Mr. McGlynn?

24 A. Yes.

Golkow Litigation Services Page 16

 

 
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 18 of 221

10

ii

12

13

14

15

16

17

18

19

20

21

22

23

24

 

Christoph J. Flaherty, P.E.

QO. What case is it?
A. I don't recall. I think
it's the case that this other -- this

other material relates to.

QO. Okay. What other materials
in the Additional Docs folder relate to
this other matter?

A. I think everything that's
listed as an exhibit, plus the -- not
that one. Okay. So everything, I think
everything in this file with the excep -—
everything that's listed as an exhibit
plus the photographs, plus the document
that says "Rule 26 Report Final."

Q. Is it your understanding
that all of the materials in your
Additional Docs folder, aside from the
service flash that you identified, relate
to case name of Magee?

A. Well, not all of the
materials. I think there was -- there
are a couple of other exceptions there.
So all of the materials except for the

service flash which was the Allstate

 

 

Golkow Litigation Services

 

Page 17
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 19 of 221
Christoph J. Flaherty, P.E.

 

 

 

1 versus LG - Confidential Document, the

2 document titled "LGEUSel1is0500 to 0647,"

3 and the document titled "Protective." So

‘ those three items do not relate to Magee.

° Q. Okay. Let's go through

6 these. So the first one we've already

7 talked about, that was the service flash,

8 right?

9 A. Yes.
)*° Q. The second one, Exhibit A,
11 Selected Photographs, to your

12 understanding are these from Magee?

13 A. That is my understanding,

14 yes.

15 Q. Do you know what they are

16 photographs of?

17 A. Not other than just what

18 they visually depict.

19 Q. Okay. The top photograph

20 says Photograph No. 131, "Arc exam on
| 21 conductor found in refrigerator," agreed?
22 A. Yes.

23 Q. Do you know where in the

24 refrigerator it was found?

 

Golkow Litigation Services Page 18

 

 
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 20 of 221

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

 

Christoph J. Flaherty, P.E.

 

A. No.

QO. The next photo, the
photograph below is Photo 6, "Severe fire
damage to refrigerator." Did you ever

actually see the refrigerator?

A. Not the one depicted in this
photograph.
Q. Did you see any photographs

from that refrigerator besides from these
three?

A. No.

Q. Did this Exhibit A inform

your opinion in this case?

A. Not specifically. The
whole -- I mean, everything in this file
informed my opinion to the -- in this

file, I mean, in this current directory
we're looking at, in the Magee file,
informed my opinion to the extent that
there had previously also been documented
issues with the internal illumination
light overheating. There is no specific
photograph here that figured into my

investigation other than that general

Golkow Litigation Services Page 19

 
 

Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 21 of 221
Christoph J. Flaherty, P.E.

 

 

1 point.

2 Q. Other than evidence that on
3 some previous occasion someone claimed a
4 light bulb stayed on and caused a fire in
9 an LG refrigerator, did any of the

6 materials from Magee inform your opinions
7 in this case in any way?

8 MR. McGLYNN: Objection. I
9 mean ——

10 MR. VOTER: Okay. You made
11 an objection, Joe.

i MR. McGLYNN: Okay.

13 THE WITNESS: Not outside of
14 the general point.

1s BY MR. VOTER:

16 QO. Just that on some other

17 occasion somebody made a claim that a

18 light bulb stayed on and started a fire
19 in an LG refrigerator? That's it, right?
20 MR. McGLYNN: Objection.

21 BY MR. VOTER:

22 Q. You can answer.

23 A. That that should in my mind
24 be considered as a potential ignition

 

 

Golkow Litigation Services Page 20
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 22 of 221
Christoph J. Flaherty, P.E.

 

1 source.

2 Q. Okay. Anything beyond that?
| 3 A. No.
7 Q. Did you ever examine the

9 refrigerator from the Magee case?
6 A. No.
7 Q. Do you know whether it
8 contained the same components and design

2 as the Ellis refrigerator?

10 A. No.

11 Q. So just to finish the

12 description, we've got Exhibit B. That's
13 Charles Fricke's CV, correct?

14 A. Yes.

15 Q. Do you know who Charles

16 Fricke is?

i A. Yes. I think he pronounces
18 it Fricke.

19 QO. Okay. Have you met him?

20 A. Yes, but not in connection
21 with this matter.
| 22 Q. Have you had any discussions
| 23 with him pertaining to your involvement
24 in this case?

 

 

 

Golkow Litigation Services Page 21
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 23 of 221
Christoph J. Flaherty, P.E.

 

1 A. I did have a discussion with
2 him, yes.

3 QO. When was that?

4 A. I don't recall. JI think it

2 was this last summer.

6 Q. Before you wrote your

/ report?

8 A. Yes,

9 Q. What did you learn from him
10 in that conversation?

11 A. Nothing more than what was
12 indicated in his file, his involvement in
13 that case in which it was his opinion

14 that an overheated -- or a light bulb

15 that could stay illuminated because of
16 some failures in circuitry within the LG
1 refrigerator could overheat and cause a
| 18 fire.

19 Q. Did you make notes of that
ae conversation?

21 A. No.

a Q. Did anything you learned in
23 that conversation inform your opinion in
24 this case?

 

Golkow Litigation Services Page 22

 

 
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 24 of 221

 

10

11

12

13

14

 

15

16

17

18

19

20

21

22

23

 

24

Christoph J. Flaherty, P.E.

A. Just to the extent that the
light bulb should be considered as a
potential ignition source.

QO. Did you reference that
conversation in your report?

A. No. I believe the light
bulb, I mean, to my recollection I was
considering the light bulb as a potential
ignition source prior to that
conversation, so it wasn't that this
conversation provided the late impetus to
consider that.

Q. I don't know if I asked you
this, but did you make notes of that

conversation?
A. No.
Q. Is it your typical practice

not to make notes of a conversation you
have with an engineer with respect to
some case you're involved in?
MR. McGLYNN: Objection.
THE WITNESS: Yes. I
typically do not take notes.
BY MR. VOTER:

 

 

Golkow Litigation Services Page 23

 

 

 
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 25 of 221

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

Christoph J. Flaherty, P.E.

 

Q. How long was your
conversation? |

A. I don't remember.

Q. Can you give me an estimate?

A. I would estimate 20 to 30
minutes.

Q. What else did you discuss

 

during that 20 to 30 minutes?

A. That's it.

Q. Well, okay. Let me ask the
question in a better way. What did you
discuss in 20 to 30 minutes with Mr.
Fricke?

A. The -- what led, why he
considered it being the overheating of
the light bulb, and we discussed the
sticking relay and the physical repair or
the product or equipment replacement that
LG undertook to address the sticking
relay.

QO. Did he know about the
efforts undertaken by LG Korea to address
what you referred to as the sticking

relay issue?

 

 

Golkow Litigation Services Page 24
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 26 of 221
Christoph J. Flaherty, P.E.

 

| + A. He did know and showed me
2 like some -- he did know about the
3 circuit board replacement and the relay
7 replacement and showed me some pictures
> that indicated the difference between the
6 original installation versus the
7 replacement installation.
8 Q. Are those photos in your
9 file?
10 A. Yeah. I think they're in
11 that, they're the three photographs in
12 that one directory that we were just
13 discussing.
= Q. So am I correct that those
15 are photos P1310012, 014 and 015?
16 A. Yes,
17 Q. And these came from Mr.
18 Fricke?
19 A. That's my understanding.
20 I'm not sure if he took them himself or
| ¢+ who took them, but yes.
22 Q. So tell me what you
23 understand 012 to be or to show?
24 A. 012 shows two samples of the

 

Golkow Litigation Services Page 25

 

 
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 27 of 221

 

10

11

12

13

14

15

16

17

18

19

20

21

 

22

23

24

Christoph J. Flaherty, P.E.

 

main control circuit board of the LG
manufactured refrigerator, one which was
represented to me as the original
construction, and the second being the
one on the right as the replacement or
updated construction.

Q. And when you say original,
was it the original for the model
involved in this case?

A. Yes.

Q. Is that the same model as
involved in the Ellis case?

A. IT don't recall specifically.

Q. Did you make any effort to
find out?

A. The control boards and
everything that I saw were sufficiently
Similar to consider them to be
effectively the same, but I don't think I
dug down more deeply than that.

Q. So was the answer to my
question you did not attempt to determine
if it was the same model as involved in

Ellis?

 

 

 

Golkow Litigation Services Page 26
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 28 of 221
Christoph J. Flaherty, P.E.

 

 

 

1 MR. McGLYNN: The model of
2 Circuit board or the model of
| 3 refrigerator?
4 MR. VOTER: Model of
5 refrigerator.
6 THE WITNESS: That is
] correct.
8 BY MR. VOTER:
9 QO. Did the refrigerator
10 involved in the Magee case have one or
it the other of the two circuit boards shown
a in Photo 012?
13 A. IT don't know.
14 Q. What does Photo 014 show?
15 A. 014 looks like a close-up of
16 the left -- the relays located in the
1? bottom right-hand corner of the left
18 circuit board from 012.
19 Q. And the 015 photo is a
20 close-up of the other circuit board from
21 012, correct?
22 A. Yes.
| 23 QO. When we talk about relay,
| 24 Can we agree that we're referring to a

 

 

 

 

Golkow Litigation Services Page 27
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 29 of 221

 

10

11

12

13

14

15

16

17

18

19

 

| 20
21
22
23

24

Christoph J. Flaherty, P.E.

relay that is in the circuit for the
light bulb?

A. Yes.

QO. Okay. There were more than
one relay in the refrigerator, right?

A. Yes.

Q. Okay. But the one that
we're concerned with is the one that is
in the circuit for the light bulb that's

in the upper section of the refrigerator,

correct?
A. That's right.
QO. Okay. And am I correct that

you don't know what relay was in the
Magee refrigerator?

A. That's right.

Q. And you don't know what

circuit board was in the Magee

refrigerator?
A. That's right.
Q. Do you know why he sent you

those photos?
A. He was showing me the

difference between the two phases of the

 

Golkow Litigation Services Page 28

 

 
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 30 of 221

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

 

Golkow Litigation Services

Christoph J. Flaherty, P.E.

Circuit board design with LG's addressing
of the light overheating issue.

QO. Did you ask him whether
there was a report from the defense in
that case?

A. No.

Q. Did you expect if he
prepared a report that there would have
been a defense report?

A. Yes.

Q. Is there a reason you didn't
ask for that?

A. The -- the -- again, because
the case only prompted me to or affirmed
that the consideration that I should
continue to consider the light
overheating as a potential ignition
source in the Ellis case in particular.

I wasn't interested in trying to do an
independent analysis of the Magee case.

Q. Did you discuss with him
what the defense response opinions from
the McGee case were?

A. I don't recall.

Page 29

 

 
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 31 of 221

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

 

Golkow Litigation Services

Christoph J. Flaherty, P.E.

 

Q. Did you have his Magee
report before you spoke to him?

A. T don't think so.

Q. Who did you receive his
report from?

A. That was included with all
of the other documents in that Additional
Docs folder from Mr. McGlynn.

Q. And it was received after
your conversation with Mr. Fricke?

A. Yes. I think those
documents were either received at that
time or after.

Q. Okay. Well, let me be clear
in my question. At the time you spoke
with Mr. Fricke, did you have any of the
Magee materials?

A. T know that I had not
reviewed any of the Magee materials prior
to speaking with Mr. Fricke.

QO. Whose idea was it for you to
speak to Fricke?

MR. McGLYNN: Objection.

BY MR. VOTER:

 

 

Page 30
 

Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 32 of 221

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

Christoph J. Flaherty, P.E.

QO. You can answer.
Mr. McGlynn's.

Ox Were you curious what the
defense expert or experts said in
response to Mr. Fricke's opinions?

MR. McGLYNN: Objection.
THE WITNESS: No. Again, I
considered this as more general
information and I wasn't really
interested in redoing the Magee
investigation.
BY MR. VOTER:

QO. Did you ask him how that
case turned out?

A. No.

QO. After you reviewed the
materials, did you reach out to Mr.
Fricke again?

A. No.

Q. Is it your understanding
that the circuit board on the right in
Photo 012 shows evidence of a change to
the circuit board that's related to the
light bulb issue?

 

 

Golkow Litigation Services Page 31
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 33 of 221
Christoph J. Flaherty, P.E.

 

 

1 A. Yes, that's --

2 MR. McGLYNN: Objection.
| 3 THE WITNESS: Yes, that's my
4 understanding.

5 BY MR. VOTER:

6 QO. As it relates to the circuit

/ board, what is your understanding of the

8 change that was made?

2 A. The relay controlling the

10 interior illumination light was replaced
11 with a larger one.

12 Q. So can you -- do you know

13 from looking at 012, Photo 012, which

14 relay was changed to address the light

15 bulb issue?

16 A. It looks like it was the

ly middle. If we're looking at the left

18 circuit board, it would have been the

19 middle of the five black smaller relays.
20 MR. VOTER: I may make a

21 little bit of noise. I'm going to
22 try to print that. I'm going to
23 mark this as Flaherty-4, and I'll
24 just hold it up so you can look at

Golkow Litigation Services Page 32

 
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 34 of 221

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

 

Golkow Litigation Services

Christoph J. Flaherty, P.E.

 

 

it.

(Exhibit Flaherty-4 was
marked for identification.)
BY MR. VOTER:

QO. Can we agree that what I'm
going to mark as Flaherty-4 is the Photo
P1310012 that's in your file?

A. Yes.

Q. Okay. Is the relay that we
are discussing that was changed contained
or included within the array of relays at

the bottom right of each board?

A. Weis..
Q. Okay. And if I start with
the relay all the way -- how many relays

are in that array on each board?

A. I would say there are six in
that particular row in both cases,
starting with a visibly larger one on the
leftmost side which is approximately the
center of the board.

QO. So if we start with the
leftmost relay and work our way to the

right, can you tell me what position the

 

 

Page 33
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 35 of 221

Christoph J. Flaherty, P.E.

 

 

1 changed relay occupies on the new board
2 or on the right-hand board?

3 A. We call the leftmost one

4 number one, and it would be two, three
5 four. It would be position four.

6 Q. Okay. Can we agree that the
/ position four relay on the left board is
8 black in color and smaller than the

9 position four relay on the right board
10 which is larger and blue in color?

i A. Yes.

12 Q. All right. What's the

13 difference between the position four

14 relay on the left board versus the

15 position four relay on the right board?
16 A. It's larger, both in the
WV physical and electrical sense.

18 Q. Well, that's what I'd like
19 you to explain. Explain in the

20 electrical sense what the difference

21 between the two is.

22 A. The larger relay can

23 interrupt and switch higher amounts of
24 current or is described to be able to

 

 

Golkow Litigation Services Page 34

 

 
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 36 of 221

Christoph J. Flaherty, P.E.

 

t interrupt and switch higher amounts of

2 current, electrical current.

3 Q. Do you have an understanding
4 based on your review of materials in this
° case what the rationale was for going to
6 a larger relay in the light bulb circuit?
7 A. Yes.

ze Q. What was the reason?

3 A. The LG investigation

19 determined that the smaller relay could
11 stick shut. So they exchanged it with a
12 larger one which would be less likely to
is stick shut.

14 Q. When you say "stick," that
ee just means it wouldn't turn to an off

16 position or off state when it was

a expected to, correct?

18 A. Correct.

19 Q. And that would result in the
20 light bulb staying on even though the

21 door was closed, correct?

22 A. Correct.

23 Q. Do you understand

24 electrically why the larger relay would

 

Golkow Litigation Services Page 35

 

 
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 37 of 221

Christoph J. Flaherty, P.E.

 

1 not have that problem?
2 A. Well, it would be less
|} 3 likely to have that problem. And the

4 reason for that would be in the design of
5 the relay, the contact surfaces are

6 likely larger which would dissipate the
7 electrical energy over a larger surface

8 area so as not to cause as much damage,

9 and the internal mechanism separating the
10 relay contacts is likely also larger by
11 which I mean it would exert more force to
12 separate the contacts when the relay
13 should be off.

14 Q. When you say less likely,

15 are you aware of any large relay on an LG
| 78 refrigerator that stuck and resulted in
1 the light bulb staying on when the

18 refrigerator doors were closed?

19 A. No.

20 Q. Did you do any testing of

21 the larger relay to determine how often
ae it would stick and result in a light bulb
23 staying on even though the doors of the
24 LG refrigerator were closed?

 

 

Golkow Litigation Services Page 36

 
 

Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 38 of 221

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

Christoph J. Flaherty, P.E.

 

A. No.

Q. Is that something that you
could have done as an electrical
engineer?

A. Not in any meaningful way to
represent the facts in this particular
case.

Q. Okay. Well, my question
dealt more with your experience and
training. Did you possess the experience
and training to do such a test?

MR. McGLYNN: Objection;
asked and answered.

BY MR. VOTER:

Q. You can answer the question.
A. Yes.

Q. You do?

A. VIGIS i:

Did you consider running
such a test?
A. No. Well, I did consider
it. I determined not to I guess 1s a
better answer.

Q. When did you consider that?

 

Golkow Litigation Services

 

Page 37
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 39 of 221

10

 

11

12

13

14

15

16

17

18

19

 

| 20
21
| 22
23

24

Christoph J. Flaherty, P.E.

A. When I had determined that
the Ellis refrigerator had the larger
relay.

QO. And was that before or after
you wrote your report?

A. Before.

Q. So can we agree that at the
time of the fire the Ellis refrigerator
had the larger relay --

A. Yieys:.

Q. -- for the light bulb
Circuit, correct?

A. Yes.

Q. And so wetre clear, that's
-- the larger relay was the replacement
for the smaller relay that was identified
as causing or allowing light bulbs to
stay on even though the doors were
closed, correct?

A. It was --

MR. McGLYNN: Objection.

Sorry, you can answer.

THE WITNESS: It was

identified by the LG investigation

Golkow Litigation Services Page 38

 

 
 

Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 40 of 221
Christoph J. Flaherty, P.E.

 

 

1 as possibly sticking, causing the
2 light to remain on.

3 BY MR. VOTER:

4 Q. And you saw the -- you read

S the results of that root cause analysis

6 that's contained in the documents that
7 are marked 0648 to 0670, correct?

8 A. Yes.

9 Q. Did you have any reason to
a disagree with their conclusion that in
11 some cases the small relay would stick
12 and allow the light bulb to stay on?

13 MR. McGLYNN: Objection.

14 THE WITNESS: No.

1s BY MR. VOTER:

16 Q. And I think you said you're

VW not aware of a single instance where the

18 large relay stuck resulting in the light

19 bulb staying on even though the doors

20 were closed, correct?

21 A. Correct.

22 Q. What kind of testing did you
23 consider?

24 A. We considered doing the, you

Golkow Litigation Services Page 39

 

 
 

 

Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 41 of 221

10

11

12

13

14

15

16

 

17

18

19

20

21

22

23

24

Christoph J. Flaherty, P.E.

know, relay cycling testing or I
considered that. I considered testing of
the thermal characteristics of wattages
of lamps installed in refrigerators in
terms of temperatures that they might

reach if they were left on.

Q. Anything else?
A. No.
Q. You majored in physics at

the Naval Academy, correct?

A. Correct.

Q. What is the mechanism that
results in a relay not opening when it's
supposed to? You talked about contacts.
Do the contacts stick together?

MR. McGLYNN: Objection.
THE WITNESS: Yes.

Typically the most common reason

for a relay failing to open is

that the contact surfaces become
damaged through the progressive

cycles and metals making up those
contact surfaces soften and melt

and eventually effectively weld

 

Golkow Litigation Services Page 40

 

 

 
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 42 of 221

10

11

12

13

14

 

iS

16

| 17

18

19

20

21

22

23

 

24

Golkow Litigation Services

Christoph J. Flaherty, P.E.

themselves together.
BY MR. VOTER:

QO. You just said there is a
minute arc that goes on as they close and
as they separate, right?

A. Wiers «

Q. And over time that can
affect the surfaces and affect the
conductivity between them, and then over
additional time in some cases that can
result in a welding together, correct?

MR. McGLYNN: Objection.
THE WITNESS: Yes.
BY MR. VOTER:

QO. And that's why even though
the circuit is telling the relay it's
time to open up because the door is
closed, the relay doesn't because the
contacts are welded together, right?

A. Yer ;

Q. Did you make any effort to
determine if the relay on the Ellis
circuit board for the light bulb had

contacts that were open or closed?

 

Page 41

 

 

 
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 43 of 221
Christoph J. Flaherty, P.E.

 

 

 

1 A. No.
2 Q. Is that something as an
3 electrical engineer you could have done? |
4 A. Yes. |
9 Q. Meaning you know how to do
6 that?
7 A. Yes.
8 Q. Did you choose not to?
9 A. The -- I did not consider it
10 at the time of the inspection.
11 Q. Did you at any time after
12 the inspection?
i A. I did consider it at the
14 time after the inspection, yes.
/15 Q. When?
16 A. When I began to consider the
ue light being on as a potential ignition
18 source.
19 Q. When did you start
20 considering that as a potential ignition
21 source?
22 A. That would have been in the
23 month or so after the evidence
24 examination.

 

 

Golkow Litigation Services Page 42
 

Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 44 of 221

Christoph J. Flaherty, P.E.

 

1 Q. Was it around the time that
2 you received the materials on the Magee
3 case from Mr. McGlynn?
4 A. The -- no. I think it was
> before that.
6 Q. So did you come up with that
7 on your own or was there some other
7 source --
3 MR. McGLYNN: Objection.
10 Come on.
11 MR. VOTER: Basis?
12 MR. McGLYNN: Objection.
13 First of all, if you're asking for
14 what I talked to him about are
15 attorney-client privilege, I think
16 you know better than that, Warren,
| 17 and second, the form is
18 objectionable.
19 MR. VOTER: Okay. I'll
20 rephrase the question and I'll
aul make it clear.
22 BY MR. VOTER:
23 Dre IT don't want to know
24 anything about communications you've had

Golkow Litigation Services Page 43

 
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 45 of 221

10

11

 

13

14

15

16

ly

18

19

20

21

22

23

24

 

with Mr. McGlynn. Okay?

BY MR.

again.

A. Got it.

MR. McGLYNN: It sounded
like when you say did you come up
with that on your own and you're
talking about a conversation with
Mr. McGlynn, that's exactly what
you were asking.

MR. VOTER: I didn't mention
anything about a conversation with
you.

MR. McGLYNN: Okay. Okay.
When Mr. McGlynn was sending the
documents, but the witness has
been advised that you don't get
into anything that we discussed.

Okay, C.J.?

THE WITNESS: Got it.

MR. VOTER: Agreed. We're
clear on that.

VOTER:
QO. So let me ask the question
T'll make it simpler.

Did you come up with the

 

Golkow Litigation Services

 

 

 

Page 44
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 46 of 221

Christoph J. Flaherty, P.E.

 

 

1 idea as the light bulb as a potential

2 source of ignition on your own?

3 A. Yes, or it was the light

4 bulb or a connection, you know, resistive
9 connection issue. In terms of the relay
6 sticking, I had no knowledge that that

7 had been an issue, an identified issue in
8 certain LG refrigerators at the time that
2 I was beginning to consider the light

10 bulb as a potential ignition source, or
= the light bulb circuit I should say,

= because I was really just considering

13 just the light bulb. It was just that.

14 Q. T'll get into it in some

15 more detail later, but is it fair to say
16 that you've offered two alternative

17 opinions in this case about the cause of
18 the fire? One is the light bulb

19 overheating, and I'm just trying to give
20 a shorthand summary of it, I'm not trying
21 to give you all of the details. One is
22 the light bulb overheating and the other
23 is an arc on the wiring harness, fair?

24 MR. McGLYNN: Objection.

 

Golkow Litigation Services Page 45

 

 
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 47 of 221

10

lel!

 

3

14

15

16

17

18

19

20

21

22

23

24

 

Christoph J. Flaherty, P.E.

THE WITNESS: Yes. |
BY MR. VOTER:

Q. Okay. So we're only talking
about the light bulb overheating issue at
this point. So at some point -- well, we
know that when you wrote your report in |
November of 2020, light bulb overheating
causing fire was one of your opinions.

My question is, when did you

make the determination that that was

 

going to be one of your two opinions?

MR. McGLYNN: Objection.

THE WITNESS: I'm not sure
there was a specific time. It
came out of a month's long process
of review and consideration of
various items.

BY MR. VOTER:

 

QO. Was it before or after you
reviewed the Magee materials?

A. I began considering a light
bulb or I should say the light bulb
circuit as a potential ignition source

before reviewing the Magee materials.

Golkow Litigation Services Page 46
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 48 of 221

10

 

11

12

13

14

15

16

17

18

19

20

21

22

23

24

 

Christoph J. Flaherty, P.E.

 

Reviewing the Magee materials called more
specific attention to relays and their
performance and did lend some credence to
that as a general theory.

Q. So when did you reach your
conclusion about the light bulb? Was it
before or after reviewing the Magee
materials?

A. The conclusion would have
been reached during the preparation of my
report, so...

Q. And when was that? It's got

a November 6 date on it. When?

A. Late October, early
November.
Q. Okay. When did you consider

testing or otherwise examining the relay
in the Ellis refrigerator to see if it
was stuck?

A. The -- in the summer, so
let's see, that would have been after the
Magee. Yeah, so July or August, in the
summer.

Q. How would you have tested

Golkow Litigation Services Page

4’]

 
 

Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 49 of 221

10

11

12

13

14

15

16

17

18

19

20

 

21

22

23

24

it?

A.

Christoph J. Flaherty, P.E.

It would have been a --
MR. McGLYNN: Objection.
THE WITNESS: --

conductivity check across the

relay

BY MR. VOTER:
Q
A.
Q
A

Q.

terminals.

How long does that take?
Not very long?

Minutes?

MES

And you decided not to do

that, correct?

A.
Q.
A.

that point I

Correct.
Why?
Because I didn't think -- at

knew the larger relay had

been installed and the -- I considered it

unlikely that the relay itself had stuck

or was still

Q.

stuck.

Is it still your opinion

today that the light bulb could have been

a cause of this fire?

A.

Yes, although based -- yes.

 

Golkow Litigation Services Page 48

 

 
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 50 of 221

10

1i

12

13

14

15

16

17

18

19

20

21

22

23

24

 

Christoph J. Flaherty, P.E.

Q. Let me back up. Are you
Saying that you didn't need to -- you
didn't feel that there was any benefit in
testing the relay in the Ellis
refrigerator?

MR. McGLYNN: Objection.
MR. VOTER: Basis?
MR. McGLYNN:
Mischaracterization.
BY MR. VOTER:

QO. I'm not sure I understand
your answer why you chose not to do the
testing of the relay.

A. Because there were other
ways that the light bulb could have been
on and I did not think -- I considered it
at that point unlikely that the relay was
stuck based on the work that LG had done.

Q. Go back to the other
testing. You said that you considered
relay cycling testing. Would you
describe what that would accomplish?

A. Well, it would determine how

a -- well, for it to be meaningful, it

 

Golkow Litigation Services Page 49

 
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 51 of 221

10

11

12

13

14

15

16

17

18

19

20

21

22

 

23

24

Christoph J. Flaherty, P.E.

 

would have to be done on many examples of
a particular relay. And if you had
enough data, it would determine how many
cycles and under what current levels the
relay would typically be expected to
last.

Q. Is that something you're
capable of doing?

A. Capable, yes. It would be a
very time consuming effort.

QO. You also talked about
testing that you considered to determine
the thermal characteristics of the lamp,
and as an example you gave the
temperatures it would reach if left on.

Do you recall that?

A. Mer) .

Q. And what would the point of
that be?

A. Well, if we had any

expectation to accurately reproduce the
conditions in the Ellis's refrigerator,
the point would be to see how -- what

might be able to be ignited and how it

 

Golkow Litigation Services Page 50

 
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 52 of 221

 

10

11

12

13

14

15

16

17

18

19

20

21

 

23

24

Golkow Litigation Services

Christoph J. Flaherty, P.E.

 

might be able to be ignited by the light
bulb.

Q. Why would that be important?

A. Well, the challenge there is
that there are too many variables to
consider to try and get any kind of a --
anything that could be considered an
accurate or reproducible or relevant
result.

Q. So am I correct that you
considered doing testing that would have
told you whether the light bulb got hot
enough to ignite something, but chose not
to because there were too many variables;
is that correct?

MR. McGLYNN: Objection.
BY MR. VOTER:

QO. You can answer.

A. Correct. I couldn't -- I
did not feel that we could accurately
reproduce the conditions that might have
existed in the Ellis's refrigerator to
the degree of specificity necessary to

make that determination.

 

 
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 53 of 221

10

11

12

13

 

14

15

16

17

18

19

20

21

22

23

24

 

Christoph J. Flaherty, P.E.

 

Q. What were the variables that
made that difficult?

A. It would have been the age
of the refrigerator, the number of
heating cycles it had previously been
exposed to through the light being on and
off and maybe staying on under certain
circumstances. It would be the presence
or not of a light guard or lens over the
fixture. It would be the proximity of
food storage items or anything else that
would have been stored inside the
refrigerator, the nature and the

proximity of those things.

Q. Anything else?
A. I think that's about it.
Q. How does the location,

presence or location of food storage
items affect the temperature that the
light bulb could reach?

A. It would affect the
ventilation that the light bulb would be
subject to and it would also affect how

much -- depending on what kind of items

 

Golkow Litigation Services

 

 

Page 52
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 54 of 221

Christoph J. Flaherty, P.E.

1 they were and how close they were to the
2 light bulb, they may provide a kind of

3 thermal insulation. It would also |
4 provide the first material ignited

2 depending on what it was.

6 Q. Do you know what was in the
7 refrigerator just before the fire?

8 A. Not specifically.

9 Q. Do you know any item that

10 was in the refrigerator at the time just
Tl before the fire?

12 A. No, not specifically.

13 Q. I don't know what "not

14 specifically" means. My question is very
15 Simple. Do you know any item that was in
16 the refrigerator just before the fire?

1 A. There was food in there.

18 QO. What was the food?

19 A. I don't know.

20 Q. What was it in?

21 A. IT don't know.

22 Q. Was it in anything?

23 MR. McGLYNN: I'm sorry. I
24 couldn't hear the question.

 

 

 

 

Golkow Litigation Services Page 53
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 55 of 221

Christoph J. Flaherty, P.E.

 

 

1 BY MR. VOTER:

2 Q. Was it in anything?
| 3 A. Most likely.

4 Q. No. My question is, was it

9 in anything, sir?

6 MR. McGLYNN: Was the food

e in anything like a container?

8 MR. VOTER: Exactly. Let me

9 ask the question again.
| 10 BY MR. VOTER:

11 Q. What's the basis for you to
12 believe that there was food in the

13 refrigerator?

14 A. That it's a -- it's the

15 refrigerator in the kitchen of the

16 Ellis's, that during the evidence exam
17 there is a physical odor of spoiled food
18 items and insect infestation that is

19 commensurate with spoilage of food items.
20 Q. Would these food items have
21 been in the freezer portion of the

ee refrigerator?
| 23 A. They were in both.

24 Q. Okay. So you actually saw

 

Golkow Litigation Services Page 54

 
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 56 of 221

10

11

12

13

14

15

16

17

 

19

20

21

22

23

24

Christoph J. Flaherty, P.E.

food items in the refrigerator portion of
this product?

A. IT saw remains of food
containers, yes.

Q. Is that the same as seeing
food?

A. Well, they were pretty
badly --

MR. McGLYNN: Objection.
THE WITNESS: -- burned, so

I'm not sure if I recognized any

particular carbonized mass as food

versus container.
BY MR. VOTER:

Q. Do you know how many
containers if any were in the
refrigerator just before the fire?

A. No.

Q. Assuming there were any in
there, do you know where they were

located within the refrigerator?

A No
Q Sorry?
A No

 

Golkow Litigation Services

 

Page 55

 
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 57 of 221

10
11
12

13
14
15
16
dy
18
19
20
21
22
23

24

 

Golkow Litigation Services

Christoph J. Flaherty, P.E.

 

Q. Assuming that there were any
in there, do you know what any of those
containers were made of?

A. No.

Q. Is it fair to say that one
of the reasons that you decided not to do
the thermal characteristics testing was
that you had no idea what if anything was
around the light bulb in the Ellis
refrigerator?

MR. McGLYNN: Objection.

THE WITNESS: That's right.
BY MR. VOTER:

QO. I'm sorry?

A. I said that's right.

I'm going to need to take a
bathroom break and a water refill break
pretty soon.

Q. Give me a few more minutes.
IT think we'll be at a good place to stop.

You said that there were, I
think you said that there were other ways
that a light could stay on. I'm

paraphrasing, but is that what you said?

Page 56

 
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 58 of 221

 

10

11

12

13

14

| 15

 

16

17

18

19

20

21

22

23

24

Christoph J. Flaherty, P.E.

A. Yes. |

Q. And what other ways could
the Ellis refrigerator light stay on?

A. If there was a failure in |
the relay control circuit or in the door
Switch that caused it to be energized
when it shouldn't have been, meaning the
relay is receiving a control signal to
stay shut even though it should be off.

MR. VOTER: Can I hear the
answer back, please?
(The court reporter read
back the preceding answer.)
BY MR. VOTER:

Q. So am I correct that you're

 

not saying that either of those things
happened? You're just identifying those
as possibilities, correct?

A. Correct.

Q. Was there any evidence that
you became aware of that the Ellises
believed, suspected, knew, any of those,
that their light was staying on even

though the refrigerator doors were

 

 

Golkow Litigation Services Page 57
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 59 of 221
Christoph J. Flaherty, P.E.

 

|
| 1 closed?

2 A. No.
3 Q. Did you conduct any tests to
7 determine whether either of those two
9 other ways that the light could have
6 stayed on actually happened in this case?
/ A. No.
8 Q. Did you do any research that
9 would have provided information to you
19 about whether a refrigerator with the
11 same design as the Ellis model has ever
12 had a problem like those two
13 possibilities that you identified?
14 MR. McGLYNN: Objection.
15 MR. VOTER: You can answer.
16 THE WITNESS: I did not find
17 instances of light staying on
18 separate from the identified
19 smaller relay sticking issue.
20 BY MR. VOTER:
| 21 Q. The relay that the Ellis
22 refrigerator did not, correct?
23 A. Correct.
24 MR. VOTER: Why don't we

 

Golkow Litigation Services Page 58

 

 

 
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 60 of 221

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

 

Christoph J. Flaherty, P.E.

 

 

take that break.

THE WITNESS: Okay.

(Recess; 11:48 a.m.)

(Resumed; 12:01 p.m.)
BY MR. VOTER:

QO. Mr. Flaherty, let me go back
to your file materials, so if we can
knock those out.

Did you say that Exhibits A,
B, C, D, E, F and G all relate to the
Magee case?
A. Yes, I think I did say that.
MR. McGLYNN: Well, just
hold on a second. I mean, just

take the time and make sure. I'm

sorry for interrupting, but just

don't assume that we heard what
you said accurately. Okay?
BY MR. VOTER:

Q. Well, let's go through them
quickly. We've already talked about
Exhibit A. That was three photographs.
Exhibit B is Fricke's CV, correct?

A. Yes.

 

 

Golkow Litigation Services

 

 

Page 59
 

Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 61 of 221

1 Q. Exhibit C is Fricke's list
2 of testimony. Exhibit D is the Fee

3 Schedule. Exhibit E is Data and

7 Information Considered. This appears to
2 be from his report, correct?

6 A. Yes.

/ Q. And it's just a list. It's
8 not the actual data and/or information,
9 correct?

10 A. Right, correct.

11 Q. Exhibit F is something

12 called Sample Complaints. It looks like
13 it's -- I can't tell how many pages long.
14 Oh, Page 1 of 5, so it looks like it's
15 five pages long?

16 A. Yes.

1 Q. Is this from Magee also?

18 A. Yes,

19 Q. Did this document, Exhibit
20 F, play any role in your conclusions in
21 this case?

22 A. Not other than the continued
23 consideration of the light bulb as a

24 potential ignition source.

 

 

Golkow Litigation Services Page 60

 

 

 
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 62 of 221

10

 

11

12

3

14

15

16

Ly

18

19

20

21

22

23

24

 

Christoph J. Flaherty, P.E.

 

QO. Well, let me be clear. Was
there anything that you considered
evidentiary about Exhibit F and used in
your analysis and conclusions in this
case?

A. Just provided background
information regarding the potential for
overheating due to the light bulb.

Q. Because of the relay issue,
right?

A. Well, it could be due to any
issue which would cause the light bulb to
stay on. The only identified one here is
the relay issue.

Q. Okay. And it would be a
fair statement that -- I haven't read
these in any detail, but would it be a
fair statement to say that you don't know
anything about the design and components
of the refrigerators that are subject of
the customer complaints reflected in
Exhibit F?

MR. McGLYNN: Objection.

THE WITNESS: That is

 

Golkow Litigation Services Page 61

 
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 63 of 221

10

Li

12

il

14

15

16

17

18

| 19

20

21

22

23

24

 

Christoph J. Flaherty, P.E.

 

 

correct.
BY MR. VOTER:

Q. Okay. Exhibit G, Printed
Circuit Board Revisions, did this
document play any role in the opinions
you're intending to offer in this case?

A. No.

Q. Okay. Then there is a
document that just says LGEUS, and I'm
not sure what that character is, but
Ellis 0500 to 0647, correct?

A. Correct.

Q. Can you tell me what the
first 0500 through 0633 is?

A. Well, the first page
identifies this as a report on household
refrigerator, LG Electronics, from 2004

by Underwriters Laboratories.

Q. Can you go to Document 0637?
A. Okay.
QO. Tt's a multipage document.

Did you review it?
A. T don't recall this

document.

 

LL

 

Golkow Litigation Services Page 62

 

 
 

 

Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 64 of 221

Christoph J. Flaherty, P.E.

 

 

 

1 Q. You say you don't recall.

2 Does that mean you did not review it?

3 A. I don't remember.

7 Q. Do you have any recollection
9 of what that document pertains to? Just
6 if I can ask you right now, just if you
7 would, don't look at the -- don't scroll
8 through the document. I'll represent

2 that the first page of it indicates that
10 it's a letter from the Winston & Strawn
11 law firm dated November 26, 2008.

= Do you have any recollection
13 of what is in that letter?

14 A. No.

15 Q. Do you have any explanation
16 for why if it's in your file? You have
17 no recollection?

18 A. No.

19 Q. Do you normally review

20 materials that are provided to you?

21 A. Yes. I think my only

22 explanation in this case would be that
23 it's at the end and attached to this UL
24 report, and I likely made the assumption

Golkow Litigation Services Page 63

 
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 65 of 221

Christoph J. Flaherty, P.E.

 

I that that entire file was the UL report
| 2 and didn't review every page of the UL

3 report.

4 Q. Do you see the several

9 pages, I think it's three, before the

6 Winston & Strawn letter?

7 A. I -- yes.

8 Q. Are those wire diagrams or

9 Circuit diagrams?

19 A. Yes.

di Q. Did you review those?

12 A. I reviewed wiring and

13 Circuit diagrams. I don't recall if
| 14 this -- I do not -- I think they were
15 included in other production.

16 Q. Well, let's be clear. Did
17 you review the wiring diagrams that

18 are -- I'm having trouble picking up

19 the -- oh, there we go.

20 Did you review wiring

21 diagrams that, contained in the Ellis
22 0500 to 0647 collection of pages, and
23 these wiring diagrams are specifically
24 marked Ellis 0634, 0635 and 0636? £4xDid

 

 

Golkow Litigation Services Page 64

 

 

 
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 66 of 221

Christoph J. Flaherty, P.E.

 

 

1 you review those?

2 A. I don't remember.

3 Q. Are you familiar with the

4 device known as a thermal protector?

9 A. In general, yes.

6 Q. In the context of this case
7 and the issues of this case, do you know
8 what I mean when I refer to a thermal

9 protector?

10 A. Yes,

it Os Are you aware that at some
12 point in time the type of refrigerator
13 involved in this case came to have a

14 thermal protector in the light bulb

i circuit?

16 A. Yes.

17 Q. How does a thermal protector
18 operate?

19 A. In general it has a

20 particular setpoint at which it will

21 interrupt the flow of electricity.

22 Depending on the type of thermal

23 protector it can be a -- we would refer
24 to it as a single-shot device which means

 

 

 

Golkow Litigation Services Page 65

 
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 67 of 221

10

11

12

iS

14

15

 

16

17

18

19

20

21

22

23

 

24

Christoph J. Flaherty, P.E.

 

it operates once and then renders the
Circuit it's in inoperable until it's
replaced, or it could be a resettable
device where it would operate when it
gets too hot and then reset once it cools
down.

Q. You mentioned a setpoint.

Is that a temperature setpoint?

A. Mes s

Q. And is the idea that you use
a thermal protector that triggers opening
a circuit before the device it's
protecting reaches a temperature that
could cause a problem?

A. Yes, that would be the
intent.

Q. So in the light bulb circuit
for a refrigerator, given the problems
that were experienced in some of the
earlier models of refrigerator, you have
a thermal protector that's set at a
temperature that's lower than the
temperature at which the light bulb could

cause combustion; fair statement?

Golkow Litigation Services Page 66

 

 
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 68 of 221
Christoph J. Flaherty, P.E.

7 A. You would have to make some
2 judgment call as to what that temperature |
3 would be, but that would be the -- that |
4 would be a consideration to certainly
9 make in order to choose a proper |
6 setpoint.
7 Q. So if that was done and a
8 thermal protector was added to the light
2 Circuit and the setpoint was appropriate

10 for the protection being sought, if the

7 refrigerator light stayed on for whatever

12 reason, sticking relay or some other

13 fault or something wrong with the switch

14 in the door, the thermal protector would

15 de-energize the circuit before the light

| 16 bulb got hot enough to ignite anything,

1 correct?

18 MR. McGLYNN: Objection.

19 THE WITNESS: if REM

20 properly selected in terms of

21 setpoint and properly installed

22 and is continuing to function

23 properly, then yes, that is

| 24 correct.

 

 

 

Golkow Litigation Services Page 67
 

Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 69 of 221

10

11

12

13

14

15

16

17

18

19

20

21

22

 

23

24

Christoph J. Flaherty, P.E.

 

BY MR. VOTER:

QO. Okay. Do you know what the
setpoint for the thermal protector that
was added to this line of refrigerators
was?

A. No, I don't.

Q. Do you know if it was single
shot or resettable?

A. No, I don't.

QO. Is it your opinion that the
thermal protector that was selected for
this line of refrigerators was
inappropriate in some way?

A. Not -- I can't eliminate
that possibility, but I do not have that
as an opinion.

Q. Well, as you sit here today,
you have no information that the thermal
protector that was added to the line of
refrigerators was improper or

inappropriate in any fashion; fair

statement?
A. Yes, that's right.
Q. For the interior light bulb

 

 

 

Golkow Litigation Services

Page 68
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 70 of 221

10

11

12

13

14

15

16

 

| 17
18
19
20
21
22
23

24

Christoph J. Flaherty, P.E.

to start a fire, it would have to get hot
enough to ignite something combustible
that was close enough to ignite, right?

A. Werns} .

Q. And if the thermal protector
was properly selected, the light bulb
should never be able to reach that
temperature, because the thermal
protector would de-energize the circuit
before it got hot enough, correct?

A. Assuming that it's also
properly installed and its function
hasn't degraded in any way, yes.

Q. You said in your report on
Page 4, and I'll quote, "The Ellis's
refrigerator was manufactured without
thermal protection" and then, "and with
the original relay."

So let me focus on the first
part of that sentence, "the Ellis's
refrigerator was manufactured without
thermal protection.” Is that correct?

A. No. That was a mistake on

my part.

 

Golkow Litigation Services Page 69

 

 

 
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 71 of 221

Christoph J. Flaherty, P.E.

 

 

 

: Q. And how did you discover

2 that you had made that mistake?

3 A. In reviewing defense
expert's report.

9 Q. Did the report that you're
6 referencing also include a photograph of
7 the thermal protector?

8 A. Yes. It included a

9 photograph of light bulb circuitry and
10 the thermal protector included in that.
i Q. Do any of the documents you
12 were provided answer the question of

13 whether the Ellis refrigerator was

14 manufactured with a thermal protector?
15 MR. McGLYNN: Objection.

16 THE WITNESS: I went back
after reviewing defense expert's
18 report to attempt to figure out
19 the -- well, what happened is I
20 was confused about the timeline
21 and the date of manufacture of the
22 refrigerator. So the

23 documentation that I reviewed does
24 show the installation of thermal

 

 

 

 

Golkow Litigation Services Page 70
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 72 of 221

Christoph J. Flaherty, P.E.

 

 

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

protection in refrigerators

manufactured in Korea just prior

to the date of manufacture of this
refrigerator, and I made a mistake

I think in either interpreting the

timeline or the date of

manufacture.
BY MR. VOTER:

Q. SO we can agree that
notwithstanding what your report says,
this refrigerator was manufactured with a
thermal protector, agreed?

A. Yes.

QO. And did you also make a
mistake during your evidence exam in not
recognizing the thermal protector?

MR. McGLYNN: Objection.
THE WITNESS: The -- at the
time of my evidence exam, the
circuitry had been removed from
the refrigerator, and I did not
specifically note the thermal

protector during that evidence

exam either.

 

 

Golkow Litigation Services

Page 71

 

 
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 73 of 221

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

 

Golkow Litigation Services

Christoph J. Flaherty, P.E.

 

 

BY MR. VOTER:

Q. Having seen the photograph
that was in Mr. Nemeth's report,
N-e-m-e-t-h, did you recall seeing it
even if you didn't identify or recognize
what it was?

A. I did not recall seeing it,
but I'm sure that it was there.

Q. Okay. As you sit here right
now, sir, do you have any evidence that
the light bulb in the Ellis refrigerator
experienced a condition where it stayed
on even though the doors were closed?

A. It is one of two, one of my
two potential identified ignition sources
in the top of that refrigerator. As Il
spelled out, I wasn't able to determine
specifically whether it was an issue with
the light or an issue with the circuit
with the electrical arcing that caused
the particular fire at the Ellis
residence. It's my opinion that it was
one of those two.

Q. Well, in order for it to be

 

 

Page 72
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 74 of 221

Christoph J. Flaherty, P.E.

 

 

 

 

1 the light bulb, there has to be -- there
2 has to be some problem where the light
3 bulb stays on even though the doors are
4 closed, right?
9 A. Yes.
6 MR. McGLYNN: Objection.
7 THE WITNESS: Or the doors
8 weren't entirely closed.
9 BY MR. VOTER:
10 Q. Is there any evidence that
41 the doors were not closed just before the
12 fire?
13 A. No.
14 Q. Is there any evidence that,
15 aside from what you identified as a
16 possibility or potential, I'm asking
7 about hard evidence, testimony,
18 documents, physical evidence, is there
19 any evidence that you're aware of as you
| 20 sit here right now that the light bulb in
21 the Ellis refrigerator would stay on even
22 though the doors were closed?
23 A. Nothing specifically
24 sufficient to allow me to determine that

 

 

Golkow Litigation Services Page 73

 
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 75 of 221
Christoph J. Flaherty, P.E.

 

1 that is the sole fire cause.
2 Q. Is there any evidence that
3 it stayed on when the doors were closed?
4 MR. McGLYNN: Objection.
9 You can answer.
6 THE WITNESS: Both the
7 occurrence of the fire in the top
8 portion of the refrigerator and
9 the arcing on the circuit in the
10 top portion of the refrigerator
11 are evidence that the fire started
12 in the top portion of the
13 refrigerator leaving the light as
14 a potential ignition source.
15 BY MR. VOTER:
16 Q. Okay. I understand that.
1 You've said that. My question is, is
18 there any evidence that you're aware of
19 that when the Ellis refrigerator doors
20 were closed the light bulb stayed on?
| 21 A. There is nothing specific.
22 I can't say that it definitely was on. I
23 have no -- yeah.
24 QO. Do you have any evidence, -

 

 

 

Golkow Litigation Services Page 74
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 76 of 221

10

il

12

13

14

15

16

17

18

19

20

21

 

22

24

Christoph J. Flaherty, P.E.

 

 

aside from speculation, do you have any
evidence that the thermal protector was
installed improperly?

MR. McGLYNN: Objection.

Would you like to rephrase that?

 

MR. VOTER: No. He can
answer the question.

MR. McGLYNN: Objection;
form, speculation, the
characterization.

MR. VOTER: No, I'm actually
asking him not to speculate.

BY MR. VOTER:

 

Q. You understand the
difference between speculation and
evidence, correct? |

MR. McGLYNN: Objection.
THE WITNESS: I don't have
any positive indication to show

that the thermal protector was

 

installed improperly, although
based on the degree of damage,
that would remain a possibility.

I can't confirm that it was

 

Golkow Litigation Services Page 75
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 77 of 221

 

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

 

Christoph J. Flaherty, P.E.

installed properly either.
BY MR. VOTER:

QO. Well, do you have any |
evidence that it was installed improperly
ten years before this accident, before
this fire when the refrigerator was made?

A. No.

 

Q. Do you have any evidence
that it had degraded by the time the fire
occurred and that that played some role
in this fire?

A. No.

Q. How did the light bulb come
into contact with something combustible?

MR. McGLYNN: Objection;
foundation.
THE WITNESS: Something

by -- I don't know specifically,

 

but as I said in the report, food
storage in the refrigerator could
come into contact with it.

BY MR. VOTER:
QO. Okay. But you don't know

what storage containers were in the

Golkow Litigation Services Page 76
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 78 of 221

10

11

12

13

14

is

16

17

18

19

20

21

22

23

24

Christoph J. Flaherty, P.E.

 

refrigerator, right?

A. That's right.

QO. You don't know what they
were made of if there were any in there,
right?

A. That's right.

Ol. You don't know where they
were located in the refrigerator if they
were in there, correct?

MR. McGLYNN: Objection.
THE WITNESS: Which is why
we didn't attempt to do any
testing along those lines.
BY MR. VOTER:

Q. Well, more important, if
they're not close enough to the light
bulb to ignite, even if somehow the light
bulb gets hot enough, then that theory
doesn't work, correct?

MR. McGLYNN: Objection.

THE WITNESS: Yes. it ie
wasn't lying sufficiently close to
the light bulb to ignite.

BY MR. VOTER:

 

Golkow Litigation Services

 

 

 

Page 77
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 79 of 221

 

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

Christoph J. Flaherty, P.E.

Q. Okay. And you have no
evidence that that was the case, correct?

MR. McGLYNN: Objection.

THE WITNESS: No.

BY MR. VOTER:

QO. No, it's not correct, or
yes, it's correct?

A. No, I don't have any
evidence of specifically what might have
been close enough to the light bulb to.

Q. Okay. And you would need
that evidence in order to state to a
reasonable degree of engineering
certainty that the light bulb caused the
ignition, agreed?

MR. McGLYNN: Objection.

THE WITNESS: My opinion is
that it's one of the possible, one
of the two potential failures that
caused the fire, that I was not
able to within a reasonable degree
of engineering or scientific
certainty determine which one of

those two it was.

Golkow Litigation Services Page 78

 

 
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 80 of 221

Christoph J. Flaherty, P.E.

 

 

1 BY MR. VOTER:

2 Q. Okay. That's not really my

3 question. My question 1s, are you

7 able -- if you don't know -- if you're

9 unable to say what combusted, what it was

6 made of and where it was located in

7 relation to the light bulb, would you

8 agree that you're not able within a

3 reasonable degree of engineering

19 certainty to say that the light bulb

= caused the fire?

12 MR. McGLYNN: Objection.

13 BY MR. VOTER:
14 Q. Do you agree?

15 A. Yes.

16 Q. Go back to the service

17 flash. Do you have it?
| A. Yes.

19 Q. Do you see on the first page
20 that there are, it looks like an Excel

21 spreadsheet towards the bottom that

22 identifies different model numbers and on
23 the right column PCV part numbers? Do

24 you see that?

 

 

Golkow Litigation Services Page 79

 

 
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 81 of 221

Christoph J. Flaherty, P.E.

 

 

 

1 A. Yes.
2 Q. And would you agree that
3 there are several, it looks like six, six
4 different PCV part numbers?
° A. Yes.
6 Q. Do you know which one was in
7 the Ellis refrigerator at the time of the
8 fire?
9 A. I would have to review. I
10 think I called it out in my report. I
a1 don't remember it off the top of my head.
12 Q. Okay. So can we just make
13 this part of the deposition easy and
14 agree that even though it was made with
15 the smaller relay, that the Ellis
16 refrigerator had been retrofitted with a
17 circuit board that had the larger relay
| +8 in the light bulb circuit?
19 MR. McGLYNN: Yeah. I mean,
20 just a second before you answer,
al we can agree that it's a larger
22 relay. I just object to the
23 larger relay, you know, pursuant
24 to whatever -- it had the larger.

 

 

Golkow Litigation Services Page 80

 
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 82 of 221

Christoph J. Flaherty, P.E.

 

 

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

 

MR. VOTER: Okay. L
appreciate that, but I don't know
why the limitation, so let me go
through it.

BY MR. VOTER:

Q. So what do you know about
repairs made to the Ellis refrigerator
after it was purchased?

A. I knew that there was a
repair to the ice maker because the

Ellises were experiencing some issues

with that.
Q. Anything else?
A. And then that the service

flash maintenance was also performed on
the Ellis's refrigerator.

QO. Okay. And it would be fair
to say if the service flash service is
performed properly, a new circuit board
will be installed in place of the
Original; is that correct?

A. Yes.

Q. Okay. And is it your

understanding that that is what occurred

 

 

 

Golkow Litigation Services

Page 81
 

Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 83 of 221

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

Golkow Litigation Services

Christoph J. Flaherty, P.E.

 

in the Ellis's refrigerator?

A. Yes.

Q. And do you know what the
date of that was?

MR. McGLYNN: The date of
the work?

MR. VOTER: Yes.

THE WITNESS: I have the
date of completion of the service

flash as February 28th, 2009.

BY MR. VOTER:

Q. And can we agree that as a
result of that service flash, a new
Circuit board was installed in the
Ellis's refrigerator that had the larger
relay -- had a larger relay in the number
four spot indicating that it was for the
light bulb circuit?

A. eis.

QO. And that would have been how
many years before the fire?

A. Let's see, 2009, so is that
maybe ten?

oF After that service are you

 

Page 82

 
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 84 of 221
Christoph J. Flaherty, P.E.

 

 

 

 

1 aware of any problems that the Ellises

2 reported regarding their refrigerator?

3 A. No.

4 Q. Do you recall me asking them

° in their deposition if they had had any

6 problems?

| A. Yes.

8 QO. And what was their answer?

9 A. They said they had not.

10 MR. VOTER: Okay. Let me go |
a back to your file materials.

12 Joe, I think maybe the |
13 quickest way to do this if it's

14 okay with you is I'm going to

15 print the e-mail you sent me with

16 the Dropbox link in it, and I'm

17 going to mark it as an exhibit,

18 and then we'll know that

19 everything that you sent to me in

20 that link represents the contents

21 of Mr. Flaherty's file. Does that |
22 sound like it would work?

23 MR. McGLYNN: Yes. We have,
24 just for the record, you both

 

Golkow Litigation Services Page 83
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 85 of 221

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

 

Christoph J. Flaherty, P.E.

agree that you're looking at the
same contents, right? It sounded
like you went through that, right?

MR. VOTER: Yeah, I think we |
already did that.

THE WITNESS: Yes.

MR. VOTER: So Flaherty-1l
will be his November 6, 2020,
report. Flaherty-2 will be the
CV. Flaherty-3 will be his list
of testimonies.

Now, I'm going to mark the
e-mail from Joe McGlynn to me from
today at 10:19 a.m. which has a

Dropbox link in it, and that link

 

is to the entirety of Mr.
Flaherty's file, and that's going
to be 5, Flaherty-5. There is
something wrong with my printer,
so it's got that weird skid mark
on there.

(Exhibits Flaherty-1 through
Flaherty-3 and Exhibit Flaherty-95

 

were marked for identification.)

 

Golkow Litigation Services Page 84
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 86 of 221

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

 

Golkow Litigation Services

Christoph J. Flaherty, P.E.

 

 

BY MR. VOTER:

Q. Okay. Does your report
which is marked as Flaherty-1l, does that
summarize the opinions that you intend to
offer in this case?

A. With the exception of the
change that we discussed regarding the
presence of a thermal protector, yes.

QO. Are there any opinions that
you intend to offer in this case that are
not included in this report other than
what you just referenced?

A. No.

Q. Did you look at Mr.
Ferrese's evidence exam photos at any
point in your involvement with this case?

A. Ves .

Q. Did his evidence exam photos
show the presence of the thermal
protector?

A. I don't recall. I don't --
I didn't go back to his evidence exam
photos to see if I could find it

specifically after I realized that one

 

 

Page 85
 

 

Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 87 of 221
Christoph J. Flaherty, P.E.

I was installed.

2 Q. Do you know Mr. Ferrese?

3 A. Yes.

q Q. What's his area of

9 expertise?

6 A. He's an electrical engineer.
a Q. Did you replace Mr. Ferrese
8 in this matter?

9 A. I think so.

10 MR. McGLYNN: Objection.

11 BY MR. VOTER:

12 Q. Do you know why?

13 A. No, I don't.

14 Q. Did you know at the time

15 that you were retained that a lawsuit had
16 already been filed against my client by
ne Allstate alleging that the refrigerator
18 was defective?

19 A. No, I don't -- I don't think
20 I knew that. I don't know when the

21 lawsuit was filed.

22 Q. When did you begin receiving
23 materials about the lawsuit?

24 A. About the lawsuit, I mean, I

 

 

Golkow Litigation Services Page 86

 
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 88 of 221

Christoph J. Flaherty, P.E.

 

 

} 2 received materials about the case.
2 QO. That's what I mean.
| 3 A. I'd have to look that up. I
| 4 think it was in January of 2020, but I'd
9 have to look at my correspondence to see
6 when I actually received those.
7 Q. Did the materials you
8 received include discovery responses from
9 my client?
” A. Yes.
it Q. And did those discovery
12 responses indicate the caption, what
13 lawyers call caption of the case?
= A. Yes. Discovery responses
15 would indicate that a lawsuit had been
16 filed.
7 Q. By Allstate and against LG
18 Electronics US?
19 A. Yes.
20 Q. Is it fair to say that
21 before you did your evidence exam you
22 knew what Allstate's position was with
23 regard to the start of this fire?
24 MR. McGLYNN: Objection;

 

Golkow Litigation Services Page 87

 

 
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 89 of 221

10

li

12

13

14

15

16

17

18

19

 

| 20
|

21

23

24

Golkow Litigation Services

Christoph J. Flaherty, P.E.

 

foundation.

MR. VOTER: Well, okay.
BY MR. VOTER:

QO. Can we agree that before you
did your evidence exam you knew there was
a lawsuit brought by Allstate against LG
Electronics USA, agreed?

A. No. I don't think -- I
don't know if I appreciated that at the
time. I did receive materials. I don't
remember exactly when I received those
materials. And at the time of my
evidence exam, I did not know what either
Allstate's or Mr. Ferrese's position was
regarding any issues with the
refrigerator.

Q. At the time that you did
your evidence exam on February 5, 2020,
did you have any information in your file
that would indicate Allstate had sued LG

Electronics US?

A. T don't -- I don't remember.
Q. Okay.
A. At the time --

 

 

Page 88
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 90 of 221

Christoph J. Flaherty, P.E.

 

 

 

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

 

Q. Go ahead.

A. I was just going to say, I
know at the time of the evidence exam, I
knew that Mr. Buckley, he had
communicated to me that his opinion was

that the fire started inside the

refrigerator.

Q. Did you ever speak to Mr.
Ferrese?

A. No. Well, yes, but not in
preparation for this case. I've run into

him in other matters.

MR. McGLYNN: Well, I mean,
you haven't talked to him about
this case, right? I mean, that's
just so we're clear.

THE WITNESS: Right.

BY MR. VOTER:

Q. Does your file include your
invoices?

A. No.

Q. Do you know how much you
have billed on this file?

A. T can look it up. I don't

 

Golkow Litigation Services Page 89
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 91 of 221

 

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

 

Christoph J. Flaherty, P.E.

 

 

know off the top of my head. I guess I
would estimate between 5 and $10,000.00,

but I don't know exactly.

Q. What's your hourly rate?

A. It's currently $290.00 an
hour.

Q. So if I wanted to know the

number of hours you had devoted to the
case, I could just divide 5,000 or 10,000
by 290 and get something close?
A. Yes. I could also provide
the actual invoices. I just didn't --
MR. McGLYNN: Yeah. Well,
can you tell us? Is it easy
enough -- sorry, Warren. I'm
sorry for interrupting you.
Is it easy enough to tell us
how much you billed?
THE WITNESS: Yeah. Let me
look it up.
Okay. So it looks like I'm
behind on some of my billing here.
So I've billed, what would that

be, 9,700, so pretty close to

 

Golkow Litigation Services Page 90
 

Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 92 of 221

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

Christoph J. Flaherty, P.E.

$10,000.00. And I should rephrase
that. I haven't billed that much.
That's how much I have worked
because the -- I haven't sent out
the most recent invoice which
includes probably about half of
those hours.

BY MR. VOTER:

QO. When were you hired in this
case?

A. In -- let's see. I think
that's -- I usually write that as the

first sentence in my report.

January 24th, 2020.

QO. Who hired you?
A. Mr. McGlynn or someone in
his office. I don't remember who

specifically the first contact was with.
QO. Have you worked with Mr.
McGlynn on other cases?

Yes.

 

How many?

Five to ten.

Oo Fr O PY

You worked with Mr.

Golkow Litigation Services Page 91
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 93 of 221
Christoph J. Flaherty, P.E.

 

 

 

1 McGlynn's law firm on other occasions in
2 addition to or beyond the five to ten

3 with Mr. McGlynn?

= A. Yes.

9 Q. How many would you say with
6 the de Luca Levine firm that aren't with
7 Mr. McGlynn?

8 A. In total over the years?

9 Q. Yes.

19 A. I would estimate 50. That
ii would be a ballpark.

12 Q. And have you worked with

13 Allstate -- have you worked for Allstate
14 before?

15 A. Yes.

16 Q. You know what, you probably
1? understood what I was driving at, but my
18 question might not have been as clear as
19 I thought. So instead of using the word
20 "before," let me just go back through

21 your answer.

22 Are you saying that you have
23 worked with Mr. McGlynn on other, on five
an to ten other cases besides this one?

Golkow Litigation Services Page 92

 

 
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 94 of 221

10

11

12

13

14

 

15

17

18

19

20

21

22

23

24

 

Christoph J. Flaherty, P.E.

A. Correct.

QO. And you've worked with his

law firm on roughly 50 matters other than

the five to ten you've worked with Mr
McGlynn on, correct?

A. Yes.

And have you worked on other

matters for Allstate besides this one?

A. Yes.
QO. How many?
I have no idea, but it's

quite a few.

QO. More than 50?

A. Yes.

Q. More than 100?

A. Over the years we're
talking?

Q. Me's.

A. So since I've been doing

this on my own for the last ten or so

years, let's see, I would say Allstate

has off and on been one of my larger

clients in comparison to other insurance

companies. So, yeah, I would say 100

to

 

 

Golkow Litigation Services

Page 93
 

Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 95 of 221

Christoph J. Flaherty, P.E.

 

1 200 is probably a pretty good estimate.

2 Q. 100 to 200 in roughly a

3 ten-year span?

4 A. Ten-year period.

5 Q. What percentage of cases

6 you've worked on in the last five years

7 have been plaintiff versus defendant?

8 A. I think it has trended, I've
9 done both, I think it has trended more

Ww towards plaintiff. So I would estimate
= 60 to 70 percent subrogation work.

12 Q. Which is what this is,

» correct?

14 A. Yes.

1s Q. And when you say

16 "subrogation work," meaning you're on the
17 Side that's trying to recover money?

18 A. I'm working on behalf of the
19 insurance company who is looking -- whose
20 interest is recovering money for their

21 claim, yes.

22 QO. How many active cases do you
23 have currently?

24 A. That kind of depends on how

Golkow Litigation Services Page 94
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 96 of 221

Christoph J. Flaherty, P.E.

 

 

| we would define active. Many cases go

2 dormant for a year or two and then

3 resurface.

4 Q. T'll say open. Open is a

° better word.

6 A. I would estimate completely
7 around 50 to 60 open.

8 Q. Does Flaherty Engineering

2 Investigation perform any work that's not
19 claim/lawsuit related?

il A. I've done -- well, I guess
= personal plaintiff work would also be

13 considered lawsuit related. All of

14 Flaherty Engineering's work is in

15 forensic investigations focusing on

16 insurance claims or legal cases.

WW Q. What did you earn in 2019
18 from your forensic work?

19 A. In terms of gross income?
20 Q. Sure.

21 A. Let's see. I don't remember
22 exactly, but it's in the between 350,000
23 and $380,000.00, in that range.

24 Q. How many employees does

 

Golkow Litigation Services Page 95

 
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 97 of 221

10

11

 

12

13

14

15

16

17

18

19

20

21

22

23

24

 

Christoph J. Flaherty, P.E.

Flaherty Engineering have?

A. Just myself.
QO. Do you have a lab?
A. I -- not personally. I

contract with organizations in order to

provide laboratory space when it's

 

required.

QO. Do you have an office or do
you work out of your home?

A. IT have a home office.

Q. What percentage of your open

files are fire related?

A. Approximately 80 percent.
QO. Are you a CFI?

A. No.

Q. Are you a CFEI?

A. I have previously been a

CFEIL. My certification is not current.

 

Q. When did you become
certified CFEI something?

A. I was initially gualified in |
2004. My certification lapsed I think in
2017, and I've perpetually intended to

recertify it. I just haven't managed to

 

 

Golkow Litigation Services Page 96
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 98 of 221

10

11

12

13

14

15

16

17

18

19

20

Zall

22

23

24

 

Christoph J. Flaherty, P.E.

 

 

 

make that happen yet.

QO. Do you hold yourself out as
an expert in fire cause and origin?

A. As an expert in fire cause
and origin as relates to electrical
systems and -- yes. Not -- I would not
hold myself out as a fire investigator
per se.

Q. Have you ever worked for a
manufacturer of refrigerators?

A. I don't think so.

Q. Have you ever designed a
refrigerator?

A. Oh, I understand your
question now. I'm sorry. Your earlier
guestion I had interpreted to be if I had
ever worked as a forensic investigator on
behalf of a refrigerator manufacturer,
but I think the question you actually
asked was had I ever worked for a
refrigerator manufacturer.

Q. Correct.

A. And the answer to that is

no.

 

Golkow Litigation Services Page 97

 
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 99 of 221

10

11

12

13

14

 

15

16

17

18

19

20

21

22

23

24

 

Christoph J. Flaherty, P.E.

Q. Have you ever designed a
refrigerator?

A. No.

Q. Have you ever designed a

component that was used ina

refrigerator?
A. No.
Q. Have you ever served on any

committee that deals with refrigerator
design or manufacture?

A. No.

Q. Have you ever designed any
home appliance?

A. No.

Q. Well, now I'll ask the
question that you initially thought I was
asking. Have you ever been retained by a
refrigerator manufacturer in a forensic
matter?

A. I don't recall a case in

which I have been.

Q. Have you been offered in --
go ahead.
A. I just remembered I was

 

 

 

Golkow Litigation Services Page 98
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 100 of 221

10

11

12

13

14

15

16

 

17

18

20

21

22

23

24

 

Christoph J. Flaherty, P.E.

retained on behalf of a heating element
manufacturer of heating elements used in
refrigerators and freezers, but not I
don't think a refrigerator manufacturer.

Q. Was that one time or more
than one time?

A. One time for that particular
application. I say that because that
manufacturer also makes heating elements
in dishwashers for example.

QO. Who was the -- what was the
manufacturer of that heating element?

A. Backer Heating Technologies.

QO. And did you offer an opinion
in that matter?

A. There have been two, one

involving the heating element ina

 

dishwasher and one involving the heating
element in the door of a commercial
walk-in freezer or refrigerator. I can't
remember which it was.

Q. Did you offer an opinion in
the refrigerator or freezer case?

A. Those -- that investigation

 

 

Golkow Litigation Services Page 99
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 101 of 221

10

11

12

13

14

15

16

17

18

19

20

 

21

22

23

24

Christoph J. Flaherty, P.E.

 

is ongoing. I haven't officially offered
any opinions for it. We have had
examinations and discussions regarding
what those mean.

Q. Okay. Other than in this
case, have you ever written a report in
which you expressed an opinion that a
refrigerator was defective?

A. IT don't think so.

Q. Have you ever had other
cases involving refrigerators other than
the one, the walk-in freezer fridge that

you just referred to?

A. Yes.

Q. How many have you had?

A. Can you -- I want to narrow
this down just a little bit. Cases in

which a refrigerator was being considered
as a potential fire origin?

QO. Well, I'd rather not narrow
it down yet. I'd rather keep it broad,
but I can --

A. Through kitchen fire I've

done freezers and refrigerators, so that

 

 

 

 

Golkow Litigation Services Page 100
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 102 of 221
Christoph J. Flaherty, P.E.

 

 

 

 

1 would be quite a number.

2 Q. Okay.

3 A. Most of them the

4 refrigerator is not considered a

9 potential ignition source based on the

6 fire investigator's investigation.

7 Q. So are you saying that

8 you've been retained on kitchen fires

9 where there was a refrigerator present,
10 but in the end the refrigerator was not
11 blamed for the fire?

12 A. Correct.

13 Q. Okay. Let me ask then, have
14 you ever been involved in a case where,
15 other than this one, where the

16 refrigerator was being blamed for the

1 fire?

18 A. Yes.

19 Q. And in those cases, have you
20 been the person blaming the refrigerator
21 for the fire?

22 MR. McGLYNN: Objection.

23 THE WITNESS: In the -- in
24 the one other case that I can

 

 

 

Golkow Litigation Services Page 101

 
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 103 of 221

Christoph J. Flaherty, P.E.

1 think of, the fire -- I assisted a

 

 

 

 

2 fire investigator in determining

3 that the origin of the fire was

7 inside the refrigerator. Due to

5 the fact of that particular case,

6 they didn't decide to attempt to

7 pursue that subrogation against

8 the refrigerator manufacturer, so

9 it never progressed to a finding
10 of a particular defect within the
) it refrigerator.

12 BY MR. VOTER:

13 Q. What brand of refrigerator
14 was that?

1S A. I don't know, and I don't
16 think we knew at the time either.

17 Q. How long ago was this?

18 A. Probably two or three years
13 ago.

20 Q. Is that file closed as far
2] as you know?

22 A. Yes,
23 Q. Who was the other

24 investigator that you assisted?

Golkow Litigation Services Page 102
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 104 of 221

Christoph J. Flaherty, P.E.

 

 

1 A. I assisted Joe Sobota who is
2 a fire investigator.
3 Q. Did you determine what the
4 cause of that fire was?
2 A. Not other than it had
6 started in the refrigerator and that
/ causes associated with the refrigerator
8 wiring would need to be investigated
9 where at the point a manufacturer would
10 have to be notified, put on notice, and
il then joint examinations planned when the
12 investigation was decided not to be
13 pursued and shut down.
14 Q. Was there damage outside of
15 the refrigerator --
16 A. Yes.
1 Q. -- in that matter?
18 A. Yes,
a9 Q. Was a location within the
20 refrigerator identified as the point of
21 origin?
22 A. Within -- I think it was
23 basically within the center of the
24 refrigerator. I can't -- I can't

 

 

Golkow Litigation Services Page 103

 

 
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 105 of 221
Christoph J. Flaherty, P.E.

 

1 remember. I think this one had a freezer
| 2 compartment on the top, so my
| : recollection is just the sort of center
4 of the structure of the refrigerator, but
| ° it could have been more towards the top
| 6 side of the refrigeration compartment.
M It was definitely within the
8 refrigeration compartment.

9 Q. Do you know what industry

10 standard relates to the design of a
| 12 refrigerator like the one involved in the
12 Ellis case?

13 A. I'm sure there are UL
| 24 standards that relate to the refrigerator
1s manufacture, but I don't know the

16 specific one.

17 Q. Okay. But by specific one,
18 I'd like to ask specifically.

19 A. Joe is --

20 Q. Do you know the number of

21 the -- oh, what's the matter?

22 (Mr. McGlynn lost audio

23 connectivity.)

24 MR. McGLYNN: Sorry about

 

Golkow Litigation Services Page 104

 
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 106 of 221

Christoph J. Flaherty, P.E.

 

A that.
2 BY MR. VOTER:
3 Q. I think I was asking about
| 4 the standard that applies to refrigerator
9 design and manufacture. Do you know what
6 the number of that standard 1s?
7 A. No.
8 Q. Are you aware of whether the
9 organization that issues the standard
10 that applies to the design of
11 refrigerators approved the design of the
12 Ellis's refrigerator?
13 A. My understanding is that it
14 was UL listed, so then it would have been
15 approved.
16 Q. Have you ever performed any
| 17 testing on a refrigerator?
18 A. No.
19 Q. I assume you own a
20 refrigerator?
21 A. Yes.
22 QO What brand is it?
23 A. I think it's a KitchenAid.
24 Q I assume you've never

 

 

 

 

 

 

 

Golkow Litigation Services Page 105
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 107 of 221

Christoph J. Flaherty, P.E.

1 authored any articles on refrigerator
2 design or fires. Is that a fair
|} ° statement?
| 4 A. Yes.
5 Q. Have you ever been precluded
6 from testifying by a court?
7 A. No.
8 Q. Have you ever given a
9 seminar or presentation to Allstate on
10 any topic?
il A. No.
12 Q. Have you ever given a
13 presentation to any group or organization
14 on appliance fires?
15 A. I did one talk with
16 representatives of I think State Farm
= focusing on forensic investigations in
18 general. I believe appliance fires was a
13 covered topic in that.
20 Q. You used the term "defect"
21 and "defective," I forget which, in your
22 complaint when describing the
23 refrigerator at issue. Do you recall
24 that?

 

Golkow Litigation Services Page 106

 
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 108 of 221

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

 

Christoph J. Flaherty, P.E.

 

 

A. 4eis §

Q. What does -- how do you
define defect?

A. As an error in either the
manufacture or the design that would lead
to damage or malfunction of the
appliance.

Q. Do you distinguish between a
design defect and a manufacturing defect?

MR. McGLYNN: The question
was did you or do you?
MR. VOTER: Do you.
MR. McGLYNN: Based on this
case obviously.
THE WITNESS: Yes.
BY MR. VOTER:

Q. Let's talk about your other
opinion having to do with the arc on the
wiring harness. Was that -- you've
identified that as a defect in this
refrigerator, correct?

A. I've identified that as a,
either a cause or a symptom of the fire

in the top of this refrigerator.

 

Golkow Litigation Services Page 107

 
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 109 of 221

Christoph J. Flaherty, P.E.

 

 

1 QO. I stand corrected. You've
2 identified it as one of two potential

3 causes of the fire, correct?

2 A. Correct.

° Q. Okay.

6 A. And if it was the cause,

7 then that would represent being due to a
8 defect in the manufacture of the

3 refrigerator.

10 Q. Okay, fine. So you said a
= defect in the manufacture of the

12 refrigerator, and I want to be very

13 clear. You're distinguishing between --
14 you're specifically using the word

1s "manufacture" as opposed to the design,
16 correct?

a A. Yes.

18 Q. What was the manufacturing
19 defect as it related to the wiring

20 harness?

21 A. Its installation that would
22 subject it to physical damage, either

23 damage done during manufacture or a

24 routing issue or error that caused the

 

 

 

 

Golkow Litigation Services Page 108
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 110 of 221

10

11

12

13

14

15

16

17

18

 

19

20

21

22

23

24

 

Christoph J. Flaherty, P.E.

insulation to be subject to physical
damage after manufacture.

Q. With respect to the wiring
harness, am I correct that you're not

critical of the design of the

refrigerator?
A. That's correct.
Q. Your only criticism

potentially is that the wiring harness
was installed improperly or that there
was a routing error that would do what?

A. Subject it to physical
damage, subject the wiring insulation to
physical damage.

Q. Okay. What is the
difference between those two?

MR. McGLYNN: Objection.
BY MR. VOTER:

QO. Well, you stated that
installation error or a routing error.
What's the difference between the two
things?

A. Well, installation would be

general routing as just the specific

 

Golkow Litigation Services Page 109

 

 
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 111 of 221

Christoph J. Flaherty, P.E.

 

 

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

 

example of an installation error.
Q. How many years before the

fire was the refrigerator manufactured?

A. 12.
QO. Is there any evidence
that -- before the fire, are you aware of

any evidence that would support an
opinion that there was an installation
error or routing error in the
refrigerator?

A. Absent the occurrence of --
you said before the fire, so no.

QO. No evidence before the fire
that would support an opinion that there
was a manufacturing defect in the
refrigerator, fair?

A. Me's «

Q. I'm going to ask you to draw
a bird's eye view of the top of the
refrigerator as if you're above it
looking down. So basically it's going to
be, I don't know if it's a square or a
rectangle, but can you draw that, and I'm

going to ask you to identify the

 

 

 

Golkow Litigation Services Page 110
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 112 of 221

Christoph J. Flaherty, P.E.

 

 

1 different sides of the refrigerator as
2 being the door side, and then I'm going
3 to ask you to show me the routing of the
4 wiring harness at issue. Okay? And then
9 we're going to mark at as Flaherty-6, and
6 I will ask you when we're done to scan it
7 and e-mail it to Mr. McGlynn and I.
8 A. Okay.
9 Q. Or send it to Mr. McGlynn

19 who will send it to me.

11 Actually, can we take a

12 five-minute break while you do

13 that?

14 A. Yes.

15 MR. VOTER: Is that okay

16 with everybody?

17 MR. MCGLYNN: Yes.

18 (Recess; 1:24 p.m.)

19 (Resumed; 1:34 p.m.)

20 BY MR. VOTER:

| 27 Q. Mr. Flaherty, did you

| °* draw -- oh, you've got it on your

23 computer.

24 A. Is that kind of what you're

 

Golkow Litigation Services

Page 111

 
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 113 of 221

10

11

12

3

14

15

16

iy

18

19

20

21

22

23

24

 

Christoph J. Flaherty, P.E.

 

 

 

looking for?

QO. Even better. So I assume F
is front?

A. Yes.

Q. You've got left, right,
front and back. And what is in the left
front corner area, what is the small
rectangle?

A. I put a small rectangle to
represent the cutout in the top of the
refrigerator that the wiring harness
transits through to get to the door.

Q. Okay. I'll refer to the
rectangle in which the little rectangle
exists as the refrigerator cabinet, and

then you've got the two doors indicated,

correct?
A. Yes.
Q. All right. So how does
it -- when the wiring harness exits the

cabinet, how does it get into the door?
A. It goes across the hinge and
through a series of connectors to connect

to the door wiring which goes down into a

 

 

Golkow Litigation Services Page 112

 
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 114 of 221

Christoph J. Flaherty, P.E.

 

 

1 guide or conduit in the door hinge. |
2 Q. Where are these connectors
3 located?
4 A. Yeah, they're located in
9 that space in between the where it comes
6 out of the refrigerator cabinet, so the
/ area just above the hinge of the door.
8 QO. And is that what I'll call
9 normal operation? Are those connectors
10 visible to somebody looking in that area?
11 A. No.
12 Q. What prevents them from
13 being visible?
14 A. They're covered by a plastic
15 shield or guard.
16 Q. I want you to assume that we
17 can see through the top of the
18 refrigerator and we could see the route
19 that the wiring harness takes from where
| 2° it enters the cabinet to where it exits
| 21 the cabinet. Can you draw what that path
22 is?
23 A. Yes, I think I can.
24 (Pause.)

Golkow Litigation Services Page 113
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 115 of 221

Christoph J. Flaherty, P.E.

 

 

 

10

11

 

12

13

14

15

16

17

18

19

20

21

22

23

24

 

A. All right. So this is not
perfect.

Q. Okay.

A. In fact, I think I will add

one thing just for a little bit of
clarity.

(Pause.)

A. Okay. So in what would be
the top right corner as you're looking at
it, which would be the back right corner
of the refrigerator, I added a small
rectangle to indicate the approximate
location of the control board
compartment, although that control board
compartment is down several feet from the
top of the refrigerator.

And then the straight line
of sort of magenta highlight that
transits along the back of the
refrigerator is supposed to indicate the
portion of the wiring harness that is
running up the back of the refrigerator.
And as it's running up the back, it's

also coming a little bit more towards the

 

Golkow Litigation Services Page 114

 
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 116 of 221

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

 

Christoph J. Flaherty, P.E.

 

 

center from where it started. And then
the diagonal more wandering line I guess
you could say that extends from the back |
of the refrigerator to the small
rectangular cutout is intended to
represent the approximate routing of the
wiring harness across the ceiling of the
refrigerator, of the cabinet.

Q. Okay. Are you able to
e-mail that to Mr. McGlynn and me?

A. Yes. Do you want me to do
that now?

Q. Yeah, please. Actually, you
know what. Let me ask you to hold off.
I'll probably ask you to make some more
marks on it.

So at the end opposite of
where it exits the cabinet and transits
to the hinge or to the door, is the wire
harness connected to the circuit board?

A. Yes, there are -- well,
there is multiple connections that are
part of the wiring harness. I think two

or three of them connect directly to the

 

 

Golkow Litigation Services Page 115
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 117 of 221

Christoph J. Flaherty, P.E.

 

I circuit board and one of them connects to
2 other wiring in that same compartment.

e Q. The wiring harness is

4 actually a collection of several wires;

9 is that correct?

6 A. Yes, it is a bundle of

7 wires.

8 Q. So does that bundle from

2 where it leaves the area of the main

10 Circuit board, does that bundle travel

11 within the refrigerator or on the outside
12 of the cabinet?

13 A. Tt's inside, inside the

14 cabinet.

15 Q. And when it gets to the top
16 of the refrigerator cabinet, what

17 direction does it go?

18 A. It goes across the top, but
19 still inside the cabinet until it gets to
20 the cutout in the vicinity of the door

21 hinge.

22 Q. Okay. You have that one

23 section of straight magenta that goes in
24 your two-dimensional diagram. It goes

 

Golkow Litigation Services Page 116

 

 
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 118 of 221

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

Christoph J. Flaherty, P.E.

from the right side to the left side,
correct?

A. Yes.

Q. And does that represent the
actual direction of travel of the wiring
harness across the ceiling of the
refrigerator?

A. No. That represents the
horizontal travel of the wiring harness
while it's coming from the control box up
to the level of the ceiling. So the
projection, you know, since this is a
top-down view, I can't show the vertical
routing of the wiring harness, but that
straight line across the back is intended
to just represent the horizontal travel
of the wiring harness in the portion of
where it's traveling primarily vertically
from the control box up to the ceiling of
the cabinet.

Q. So if you were standing
behind the refrigerator and could see
through the metal rear of the cabinet,

you'd see the wiring harness going mostly

 

Golkow Litigation Services

 

Page 117
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 119 of 221

10

11

 

12

3

14

15

16

17

 

18

19

20

21

22

23

24

 

Christoph J. Flaherty, P.E.

 

vertical but also moving horizontally
from left to right?

A. Yes, and that straight
portion is intended to represent the
horizontal component.

QO. And how far from the back
right corner of the cabinet is the spot
where the wiring harness makes it to the
ceiling of the refrigerator cabinet?

A. At the ceiling level, I
would say approximately one foot from the
corner.

Q. Okay. And then it uses
that, I forgot what you used, wandering,
but it's essentially a diagonal line but
not necessarily a straight line?

A. Yes, from that point to the
cutout near the door hinge.

Q. And what if anything is
around the wiring harness between where
it reaches the ceiling and where it
makes -- and where it exits the cabinet?

A. In that entire area it's

encased in the polyurethane foam

 

 

 

 

Golkow Litigation Services Page 118
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 120 of 221

Christoph J. Flaherty, P.E.

 

1 insulation of the refrigerator.
| 2 Q. And by encased, you mean

3 it's literally got foam all around it,

4 right?

9 A. Yes, it should, and there is

6 nothing here to indicate that it didn't.

" Q. Does it move?

8 A. The portions where it's in

9 the foam, it should not move.

10 Q. And to be fair, you say in
il your report that the arc on the wire
| 12 could be a victim or a consequence of the
13 fire and not the cause of the fire,

14 correct?

Is A. Correct.

16 Q. And by that you mean if the
1? fire started elsewhere and there was

is enough heat in the area where the wiring
19 harness was, it could melt the insulation
20 on a wire which would then expose

21 conductors and produce an arc, correct?
22 A. Correct.

23 Q. So if you used the

24 refrigerator, opening the door, closing

 

 

 

Golkow Litigation Services Page 119
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 121 of 221

10
11

12

14
15
16
17
18
19
20
21
| 22
23

24

 

Christoph J. Flaherty, P.E.

the door, nothing is happening to move
the wiring harness between where it
reaches the ceiling and where it exits

the cabinet, correct?

A. Correct.
Q. Okay.
A. How much it's moving when it

exits the cavity would depend on the
specific routing and installation in that
area.

Q. Well, have you ever looked
at an exemplar of this model refrigerator
to see exactly how that area is designed?

A. Tf it's designed and
installed properly there should be very
little if any movement in that area.

Q. Okay. My question is, did
you ever look at an exemplar of this
model refrigerator to see how the area
where it exits the cabinet and enters the

hinge is designed? |

A. I looked at the design
documents. I never Looked at an
exemplar.

Golkow Litigation Services Page 120
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 122 of 221

 

10

12

13

14

15

16

17

18

19

20

21

22

23

24

 

Christoph J. Flaherty, P.E.

Q. And in your report you
include some photographs that show the
area where you believe the arc was
located, correct?

A. Correct.

QO. And can you draw on the
diagram, Flaherty-6, you've reproduced
the area. I think you did it with a
circle or an oval. Can you reproduce
that onto that diagram to show the area
where the arc location could have been?

A. Yes. So I'm trying to get
the oval that I'm drawing to line up with
what I want it to, and it's -- no, I
think that probably isn't -- that's not
quite. There we go. I think that will
probably do it. Yeah.

Q. Okay. I guess now can you
e-mail that to Mr. McGlynn and myself?

A. Your e-mail address, sir?

Q. It's warren.voter,
v-o-t-e-r, @sweeneyfirm,
S-w-e-e-n-e-y-f-1i-r-m.com.

A. Did you say n-e-y?

 

 

Golkow Litigation Services

Page 121
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 123 of 221

 

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

 

Golkow Litigation Services

Christoph J. Flaherty, P.E.

Q. Yes.

A. Okay. All right. I
neglected to CC myself.

MR. VOTER: Okay. Did you

get it Joe? TI did.

MR. McGLYNN: Yeah.
(Exhibit Flaherty-6 was
marked for identification.)
BY MR. VOTER:

Q. Okay. Do you mind holding
it up again just so I can recall what it
looks like?

A. sure.

QO. Okay. What is the distance
in inches between the two ends of the
oval?

A. Well, it's an approximate

location, so I can give you an

approximation.

Q. Okay.

A. I would say approximately 12
inches.

QO. And what's the -- how much

of that is outside of the refrigerator?

Page 122

 

 

 
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 124 of 221

co

 

10

11

12

13

14

15

16

17

18

19

20

21

22

23

 

24

Christoph J. Flaherty, P.E.

 

A. When you say "outside of the
refrigerator,” you mean after it
transitions?

Q. Yeah, lousy question. How
much of the area encompassed by the oval
is wiring harness that's left or that has
left the cabinet and is transitioning or
transitioned to the hinge?

A. Okay. So when I drew the
wiring harness line on the refrigerator,
I only drew the portion that was inside
the cabinet, so the line ends right at
the cutout.

Q. Understood.

A. The -- my oval would extend
in the two to three inches outside the
cabinet there.

Q. Okay. So of the roughly 12
inches of oval, three inches of it would
be outside of the refrigerator cabinet?

A. The -- yes, the last two to
three inches would be outside the middle
cabinet of the refrigerator.

QO. And in that two to three

 

 

 

Golkow Litigation Services Page 123
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 125 of 221
Christoph J. Flaherty, P.E.

 

 

1 inches, has it already gotten to the
| 2 hinge or is it still transitioning to the
3 hinge?
4 A. No, that would be
5 transitioning to the connectors and then
6 connecting to the wiring which then goes
M into the hinge.
8 Q. Okay. So it connects
2 with -- it connects with wires that go
10 into the hinge or go through the hinge,
11 right?
12 A. Yes.
13 Q. And are you certain that the
14 end of the wiring harness at issue ends
15 short of the hinge?
16 A. Yes.
17 Q. Okay.
18 MR. McGLYNN: Objection.
19 BY MR. VOTER:
20 Q. So the hinge can't have
7 played any role in this, correct, because
) 22 it hadn't gotten to the hinge yet?
| 23 A. No, the motion of the hinge
2 certainly could, but in terms of the

 

 

Golkow Litigation Services Page 124
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 126 of 221

10

11

12

13

14

15

16

17

18

19

20

21

22

 

23

24

Christoph J. Flaherty, P.E.

physical location, the harness ends ina
connector in the hinge, in the hinge
assembly for the lack of a better term,
the plastic guards and covers that
covered the structural portions of the
hinge.

Q. Okay. Now, assuming that
the arc wasn't the result of the fire,
what could the routing error have been?
What sort of or what routing error do you
envision for the cause of the arc?

A. So possible manufacturing
defects in that area leading to the
susceptibility for damage would be the
inadequate securing of that portion of
the wiring harness so that it is subject
to movement, and positioning of that
wiring harness against edges that could
damage it as a result of that movement.

Q. Okay. Are there any edges
that could damage the wire?

A. The edges of the hole that
it transitions through coming out of the

refrigerator.

 

Golkow Litigation Services Page 125

 

 
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 127 of 221

Christoph J. Flaherty, P.E.

 

 

10

11

12

13

16

17

18

19

20

21

22

23

24

 

Q. What's that hole -- what's
the material that the wiring harness
coming out of the cabinet made of?

A. The material of the wiring
harness?

Q. I'm sorry. I was afraid I
got my question mixed up. The wiring
harness comes out of a hole in the top of
the refrigerating cabinet, right?

A. Yes.

Q. And is there some sort of
grommet or something that creates the
hole or provides a, you know, a different
surface than just metal?

A. I don't know. There should
be to protect it well.

Q. Okay.

A. The manufacturing issue
could be that there was no such
protection.

Q. Okay. Do you have any
evidence that there was no such
protection at the hole where the wiring

harness comes through the cabinet?

 

Golkow Litigation Services Page 126

 
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 128 of 221
Christoph J. Flaherty, P.E.

 

 

1 MR. MCGLYNN: Objection.
2 THE WITNESS: Not from
3 anything prior that we took.
4 I think everybody just froze
5 up. No.
6 BY MR. VOTER:
a Q. I was thinking for a second.
8 Prior to the fire, was there
9 any evidence that you're aware of that
10 there had been a routing error with the
11 wiring harness?
12 MR. McGLYNN: Objection.
13 THE WITNESS: No.
14 BY MR. VOTER:
15 Q. Other than the fire, is
16 there any evidence that the wiring
17 harness had been damaged during
pe installation ten years earlier?
19 A. No.
| 20 Q. I just want to set up my
21 question properly. Am I correct that if
22 I knew where the arc was at the moment
23 that the arc occurred, I'd know where
24 along that wiring harness line that

 

Golkow Litigation Services Page 127

 
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 129 of 221

Christoph J. Flaherty, P.E.

 

1 you've drawn, where it was located? That
2 sounds like a horrible question.

3 Let me try again. What the

4 oval represents is the area, area of the
> length or of a section of the wiring

6 harness where the arc location could have
7 been?

8 A. Yes.

9 Q. Okay. So the location where
19 the arc occurred could have been inside
us the cabinet or it could have been outside
12 of the cabinet, correct?

13 A. Yes, or right at the

14 entrance to the cabinet.

15 Q. Right, okay. And you don't

16 know where the location of the arc was at
Vy the moment that the arc occurred?

| 18 MR. MCcGLYNN: Objection.

19 THE WITNESS: Other than my

20 estimated area, that's right.

21 BY MR. VOTER:

22 Q. Okay. And have you done any
23 tests to determine if an arc somewhere on
24 that two-inch segment outside of the

 

 

 

 

 

 

 

Golkow Litigation Services Page 128
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 130 of 221

Christoph J. Flaherty, P.E.

 

 

1 cabinet could produce a fire inside the
2 cabinet?
3 MR. McGLYNN: Objection.
4 THE WITNESS: Could
9 transition or could ignite the
6 foam that's right there, well, I
7 haven't done any testing, no.
8 BY MR. VOTER:
9 Q. Okay. Well, once it leaves
10 the cabinet, it's not in contact with
11 foam anymore, correct?
12 A. Correct.
13 Q. So let me be clear again.
If the arc occurred in that two-inch
15 section outside the cabinet, have you
16 done any testing to determine whether an
17 arc location there could produce the fire
18 inside the cabinet?
19 A. No.
20 Q. Have you done any testing to
a determine if an arc in the area of the
22 wiring harness that's encased in foam
23 could produce a fire inside the cabinet
loa that would be scientifically similar to

 

Golkow Litigation Services Page 129

 

 
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 131 of 221
Christoph J. Flaherty, P.E.

 

 

| the fire or to the damage inside the
2 refrigerator that you see now?
3 MR. McGLYNN: Objection;
4 form, asked and answered.
5 THE WITNESS: Well, that was
6 the challenge we faced in
7 considering any testing, which is
8 we did not have enough data to
2 create what could be argued to be
10 a scientifically similar
11 environment in order for the
12 testing to be potentially
13 meaningful. So the short answer
14 to your question is no. The long
15 answer is because it wouldn't have
ee been meaningful.
17 BY MR. VOTER:
18 Q. What methodology did you use
19 in analyzing this fire?
20 A. I used the fire
[21 investigation -- the general fire
22 investigation techniques of 921, although
[23 in my investigation of this fire it was
24 limited to analysis of potential

 

 

 

Golkow Litigation Services Page 130
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 132 of 221

10

11

12

13

14

 

15

17

18

19

20

21

 

22

23

24

Christoph J. Flaherty, P.E.

 

electrical fire causes and specific to
potential fire cause, also potential fire
causes within the refrigerator itself.

Q. You referred to 921. Is
that NFPA 921°?

A. Yes.

Q. Could you articulate the
steps in the NFPA 921 methodology?

A. To gather data, form
hypotheses, test hypotheses, reanalyze
hypotheses. It's my sort of memory,
meaning I'm doing those from memory right
now.

Q. I have gather data, read
hypotheses, test hypotheses, reanalyze
hypotheses. Anything else?

A. The -- and in order to
arrive at a definitive cause, you would
select the final hypothesis and look at
alternate causes.

Q. You said select final
hypothesis and then look at alternate
causes?

A. Yes. I would say that was a

 

Golkow Litigation Services Page 131

 

 

 
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 133 of 221

10

11

12

13

14

15

16

 

17

18

19

20

21

22

23

24

 

Golkow Litigation Services

Christoph J. Flaherty, P.E.

 

 

 

portion of -- a part of selecting our
final hypothesis would be to consider, to
reconsider ultimate causes that would
contraindicate your final hypothesis,
look for contraindications.

QO. Okay. T'm a little
confused. Gather data, create
hypotheses, test hypotheses, reanalyze
hypotheses, and select final hypothesis,
and then if it's a final hypothesis, what

do you do with that?

A. Well, then that would be the
cause.

Q. Okay.

A. If you're able to eliminate

your other hypotheses, your selection of
the final hypothesis would be the cause.
Q. Okay. What is a hypothesis?
A. A hypothesis is a scientific
idea that you can test.
Q. Have you ever been involved
in a case where you were unable to come
up with the cause of a fire?

A. Yes.

Page 132

 
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 134 of 221

Christoph J. Flaherty, P.E.

1 Q. And is it fair to say that
2 if you can't get to, as you go through

3 the scientific method of 921, if you

4 can't get to a final hypothesis, then

5 you're unable to come up with the cause
6 of the fire, correct?

7 MR. McGLYNN: Objection.

8 BY MR. VOTER:

9 Q. Okay. You can answer.

10 A. Short from the -- you're not
11 able to say what the definitive cause

12 was, yes, correct.

13 Q. And am I correct that you
14 did not come up with a final hypothesis
i for the cause of this fire?

16 MR. McGLYNN: Object.

Li THE WITNESS: That is

18 correct. In this fire I did not
19 select a final hypothesis because
20 I have two -- I have competing

21 hypotheses, either of which could
22 have caused the fire.

23 BY MR. VOTER:

24 Q. And am I correct that you

 

 

Golkow Litigation Services Page 133
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 135 of 221
Christoph J. Flaherty, P.E.

 

 

1 made -- you performed no testing with
2 respect to either of the potential
3 hypotheses that you came up with in this
4 case, correct?
5 MR. McGLYNN: Object.
6 THE WITNESS: I determined
7 that testing that I might perform
8 would not be valuable in trying to
9 narrow it down.
10 BY MR. VOTER:
11 Q. Well, let's be clear. Did
12 you do any testing as to -- or did you do
13 any testing with regard to either of your
| 14 hypotheses?
| 15 A. No.
16 Q. Did you ever visit the fire
17 scene?
| 18 A. No, I did not.
19 Q. There is a reference in your
20 report to Fire Chief Givens. Do you
21 recall who he is?
22 A. Yes,
23 Q. Do you know what his
24 qualifications are as a fire

 

 

 

 

Golkow Litigation Services Page 134
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 136 of 221

Christoph J. Flaherty, P.E.

 

 

1 investigator, if any?

2 A. No.

3 On Can I assume from your

4 earlier answers that you did no testing
| 5 to determine whether an arc that occurs

6 within the area where the wiring harness

7 is surrounded by foam, that that could

8 create a fire that is sustained within

9 the refrigerator?

10 MR. McGLYNN: Objection.

i1 THE WITNESS: That's

12 correct.

13 BY MR. VOTER:

14 Q. Did you conduct any research
19 with respect to either of your

16 hypotheses?

17 MR. McGLYNN: Objection.

18 THE WITNESS: Yes.

1g BY MR. VOTER:

20 Q. What research did you

a perform?

22 A. The research into the, what
23 we've been referring to as the light

24 overheating issue and its previous

 

 

 

Golkow Litigation Services Page 135

 
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 137 of 221

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

 

Christoph J. Flaherty, P.E.

 

 

occurrences, damage that could be caused
by that. And then other than that, it
would just be the basic -- I didn't
perform any additional research specific
to this case. It would just be the
basics concerning electrical arc
generation, the response of electrical
systems to fires and the capability of
electrical ignition sources to ignite
fires.

QO. Well, so the only research
that you did was review of the root cause

analysis that was conducted by LG Korea,

correct?
A. In addition to just the
occurrence of -- additional occurrences

of reported light overheating failures.
Separate from their analysis, just the
reported incidents of that occurring.
Q. Well, you've indicated
previously that those materials simply
gave you reason to --
A. Consider it.

Q. -- consider the light as a

 

 

 

Golkow Litigation Services Page 136

 

 
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 138 of 221

10

11

12

ile)

14

15

16

17

18

19

20

21

22

23

24

 

Christoph J. Flaherty, P.E.

 

 

 

possible source of the fire, right?

A. Correct.

Q. Am I correct that you didn't
do any of your own research on that, but
you reviewed the work done by LG Korea,
correct?

A. I guess I would qualify my
work as research. Are you —--

Q. Well, let's not quibble over
the word "research." The only technical
information that you reviewed was the
work that was done by LG Korea, correct?

A. Specific to fire in that
refrigerator, yes.

OF Okay. Well, and in this
case, right?

MR. McGLYNN: Objection.
THE WITNESS: Well, I mean

I've reviewed lots of technical

work concerning fire causes or

fire, interactions of fire and
electrical systems and electrical
fire causes in general.

BY MR. VOTER:

 

Golkow Litigation Services Page 137
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 139 of 221

Christoph J. Flaherty, P.E.

 

 

 

 

 

1 Q. Well, I'm certain of that.

2 I'm talking about any research relating
3 to the issues in this case. The only |
4 material you reviewed was what was done

2 by LG Korea, right?

6 MR. McGLYNN: Well,

/ objection. Objection.

8 BY MR. VOTER:

9 Q. You can answer the question.
” A. In terms of technical

11 analysis of this particular refrigerator

12 model, the only material I've reviewed is
1 that produced by LG.

14 Q. Okay. And the analysis done
1 by LG showed that the light bulb, even

16 without thermal protection, the light

1 bulb doesn't get hot enough to ignite

18 material inside the refrigerator; am I

19 correct?

20 MR. McGLYNN: Objection. |
21 THE WITNESS: LG showed that |
22 it wouldn't ignite their

23 refrigerator materials, not that

24 it couldn't ignite materials

 

 

Golkow Litigation Services Page 138
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 140 of 221

10

11
| 12
13
14
15
16
17

18

 

20

21

22

23

24

 

Christoph J. Flaherty, P.E.

 

BY MR.

it get?

BY MR.

inside the refrigerator.
VOTER:

Q. Well, how hot does it -- did

MR. McGLYNN: Objection.

THE WITNESS: Are you --

MR. McGLYNN: Hold ona
second. Objection. How hot could
it get where, and what are you
talking about?

MR. VOTER: In the test
result.

MR. McGLYNN: LG's test
results?

MR. VOTER: Yeah.

VOTER:

Q. Do you know?

A. Yes.

Q. What's the number?

A. This goes back to my issue

with why we didn't do testing in the

particular, which is how hot it's going

to get

depends on how it's -- how

everything in the refrigerator is

 

Golkow Litigation Services

 

 

 
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 141 of 221

 

10
11
12
13
14
15
16
17
| 18
19
20
21
22

23

 

24

Christoph J. Flaherty, P.E.

 

arranged, what's in the refrigerator, how
close it is to the light. All of those
factors are variables. With an empty
refrigerator with nothing in it, I think
they measure temperatures in the 180
degree range.

Q. And you didn't do any
testing or independent analysis to see if
some different temperature would be
reached under different conditions, is
that a fair statement?

A. Based on the considerations
and reasons that I previously stated, I
did not do any testing.

MR. VOTER: Okay. That's
all the guestions I have. I may
have some guestions if Mr. McGlynn
asks you questions, but either way
thank you for your patience.

THE WITNESS: Yes, sir.

EXAMINATION

BY MR. McGLYNN:

Golkow Litigation Services Page 140

 

 
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 142 of 221

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

 

Christoph J. Flaherty, P.E.

Q. Okay. Mr. Flaherty, were
you asked to evaluate the evidence in
this case in light of Mr. Buckley's
conclusion that the fire had started
within the top-third portion of this
Ellis refrigerator?

A. Yes.

 

QO. And was the evidence as you
evaluated it consistent with Mr.
Buckley's determination that the fire had
originated within the top-third portion
of the refrigerator?

A. Yersi.

Q. And in fact, you had
identified at a lab exam an electrical
arc located within the top-third portion

of the subject refrigerator; is that

correct?
A. Yes.
Q. Okay. Could that electrical

arc could have caused this fire?

A. Yes.

Q. Okay. So I'm just going to
walk you through if you would, if you

 

 

Golkow Litigation Services Page 141
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 143 of 221

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

 

Christoph J. Flaherty, P.E.

 

 

want to turn to your I think it's been
marked as Exhibit 1, the conclusions in
your report, and it's I believe Page 6.
No. 1 lists, "All potential electrical
failures external to the refrigerator in
the Ellis residence were eliminated as
possible fire causes. Potential failures
considered included failures of the power
cords of either the refrigerator or
range, failure of the green extension
cord behind the range, failure of the
house branch circuit wiring or outlets,
failure of the range's electronics or
internal wiring."

Is that still your opinion
and do you hold that opinion within a

reasonable degree of engineering

certainty?

A. Yes to both.

QO. Okay. And let's move to No.
2. "The location of the electrical

arcing identified on the FD-HTR circuit
in the left forward quadrant of the top

to the refrigerator is consistent with a

 

Golkow Litigation Services Page 142
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 144 of 221

 

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

 

Golkow Litigation Services

Christoph J. Flaherty, P.E.

 

fire starting in the front of the top
part of the refrigerator."

Is that still your opinion
and do you hold that within a reasonable
degree of engineering certainty?

A. Yes to both again.

QO. Okay. Conclusion No. 3,
which is, "The observed location of the
electrical failure in the top left
forward corner of the refrigerator
provides arc-mapping substantiation to
Mr. Buckley's elimination of the
stove-top as a potential area of fire
Origin and his determination that a fire
Originated in the top of the
refrigerator."

Okay. Do you still hold
that opinion and do you hold that within

a reasonable degree of engineering

certainty?

A. Yes, in both cases again.

Ors Okay. Can you explain to us
what you mean when you say -- well, first

of all, what iS arc-mapping and why does

 

 

 
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 145 of 221

 

Christoph J. Flaherty, P.E.

 

10

11

12

13

14

15

16

17

18

19

20

21

22

23

 

24

that provide substantiation in this case
to Mr. Buckley's conclusion that the
stovetop was eliminated as a potential
area of fire origin?

A. Arc-mapping describes the
process of using locations of identified
electrical arcing to aid in determining
the fire spread, and in many cases it can
be used to help identify a fire area of
Origin or to serve as an additional
method to substantiate or support an area
of origin determined through other means.

Arc-mapping is based on the
principle that an energized electrical
Circuit attacked by fire will tend to
short-circuit and cause arcing which
results in melting of conductors that can
be physically observed after the fire.

And then where those
instances occur and form the fire spread,
in this particular instance the wiring
harness had an electrical arc at the top
left forward quadrant of the

refrigerator. That harness transited

 

Golkow Litigation Services Page 144

 

 

 
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 146 of 221

 

10

11

12

13

14

15

16

17

18

19

20

21

22

23

 

24

Christoph J. Flaherty, P.E.

 

 

from the control panel which was at the
back right, probably about halfway up the
refrigerator as we diagramed.

And Mr. Buckley and I
discussed this specifically regarding a
stovetop fire. If a stovetop fire had
attacked the refrigerator from the side,
would we expect the refrigerator
materials to burn sufficiently to damage
the wiring harness in that area before
damaging the wiring harness in the top
left corner of the refrigerator.

I asked him, you know, in
order for the fire to have started on the
stovetop and to cause the arcing in the
vicinity of the left top, in the left
forward top quadrant, the fire would have
to have burned up from the stovetop
across the top of the refrigerator and
then down to the area of that hinge prior
to compromising the harness in any other
area before that, and he categorically
ruled out that possibility based on the

fire spreading patterns that he analyzed.

 

Golkow Litigation Services Page 145
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 147 of 221

10

11

12

13

14

 

15

16

17

18

19

20

21

22

 

23

24

Christoph J. Flaherty, P.E.

Q. Okay. So let me just go ask |
you a couple follow-up questions to what |
you just said. Hold on, bear with me
because I just lost my place.

So, in other words, you
believe that you wouldn't have that
electrical arcing which means that that
location, that front forward left portion

were energized had the fire been started

 

on the stovetop. Is that what you just
said?
MR. VOTER: Object to the
form.
THE WITNESS: The -- that
was --
BY MR. McGLYNN:
QO. IT guess what I want to know
is, how do you explain I guess in

layman's terms what you mean when you say

 

that the electrical arc-mapping
substantiates Buckley's elimination?

I know that you told us Mr.
Buckley conclusively eliminated a

stovetop fire. Why does this electrical

 

Golkow Litigation Services Page 146
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 148 of 221

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

 

Christoph J. Flaherty, P.E.

 

arc support that elimination? I'm just
asking you to finish your thought that
you started a moment ago.

A. Because the electrical arc
occurring in this close to the end of the
wiring harness concentrates the first and
most intense fire attack to that wiring
harness in that area. The -- that
substantiates his determination because
had the fire started on the stovetop, it
should have attacked it closer to the
control box.

Q. Okay. So I guess what I'm
asking is on one hand it supports Mr.
Buckley's conclusion that the fire
started within that top-third quadrant;
is that correct?

A. Yes.

Q. Okay. And on the other hand
it supports Mr. Buckley's elimination of
the stovetop as a potential cause of the
fire; is that correct?

A. Yes. I wouldn't say that

it's sufficient in and of itself to

 

 

Golkow Litigation Services Page 147

 

 
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 149 of 221

Christoph J. Flaherty, P.&.

 

1 eliminate the stovetop fire, but as I
2 said in my report, it substantiates it.
3 Q. Yeah. Well, and you're not
4 even being asked to determine whether a
9 stovetop fire happened here or not; is
6 that right?
7 A. Yes.
8 Q. Okay. So that's simply all
9 I'm asking you, whether or not that
10 specific piece of evidence supports Mr.
= Buckley's determination.
12 MR. VOTER: Object to the
| 13 form.
) 14 THE WITNESS: Yes.
15 BY MR. McGLYNN:
16 Q. Okay. And in support of
17 your evaluation and conclusion that the
18 evidence in this case supports Mr.
193 Buckley's determination, can you tell me
20 whether or not you reviewed Mr. Ferrese's
21 photographs from the scene and an
22 evidence exam?
23 A. Yes, I did review Mr.
24 Ferrese's photos.

 

 

Golkow Litigation Services Page 148

 

 

 
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 150 of 221

10

11

 

12

13

14

15

16

17

18

 

19

20

21

22

23

24

 

Golkow Litigation Services

Christoph J. Flaherty, P.E.

QO. Did you review Mr. Buckley's
photographs from the scene and multiple
scene exams and the evidence exam?

A. I don't recall seeing Mr.
Buckley's photos.

Q. Okay. Did you ever see
other photographs from a scene exam that
would have been incorporated in any of

your materials?

A. Just Mr. Ferrese's
photographs.
Q. All right. Well, I mean,

obviously I'm assuming you saw Mr.
Buckley's report, right?

A. Mer.

Q. And in looking at his report
you saw his photographs taken from the
first and second site exams, correct?

A. So I would have seen any
photographs in Mr. Buckley's report.

Q. Okay. I also want to ask
you, you then conducted your -- Ferrese,
Mr. Ferrese or Dr. Ferrese did his own

evidence exam, is that correct, and took

 

 

 

Page 149
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 151 of 221

 

10

Li

12

13

14

 

15

16

17

18

19

20

21

22

23

24

 

Christoph J. Flaherty, P.E.

pictures of that?

A. aes §

Q. Okay. And on top of that,
you yourself did an evidence exam of the
evidence retained in this case, correct?

A. Yes.

Q. Did you trace out the wiring
to the wiring harness?

A. At the time doing my
evidence exam, I traced out the wiring
portion of that since it had been removed
previously by Mr. Ferrese. Fortunately
it had been done in a very careful and
well-documented fashion in that each
individual conductor was tagged before it

was cut, so we were able to trace out the

 

wire all the way back to the connector on
the control board.

Q. Okay. So I guess my
question is, not only did you have the
benefit of those Dr. Ferrese pictures,
but you yourself actually put your own

eyes on the evidence and traced out the

 

wiring as well, correct?

 

Golkow Litigation Services Page 150
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 152 of 221

10

11

12

13

14

15

16

17

 

18

19

20

21

22

23

24

Christoph J. Flaherty, P.E.

 

 

A. Yes.

Q. Okay. You also had an
opportunity to examine the stovetop
range, correct?

A. esi.

Q. Okay. And I understand in
reviewing the pictures that you took from
that evidence exam that you looked at the
wiring behind the control panel portion

of the GE stove; is that correct?

A. Miers).
Q. All right. Now, you also --
I think that was your second. I'm sorry,

that was the first conclusion from your
report that you were able to eliminate
the range, but I guess I want to ask you
how you can eliminate the range as a
potential cause for the fire. And then
the second guestion is, you know, if the
fire had started on the range, would you
expect to see electrical activity in the
area of the control panel where the
wiring for that control panel is located?

MR. VOTER: Objection.

 

Golkow Litigation Services

Page 151
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 153 of 221

10

ill

12

13

15

16

yy

18

19

20

21

22

23

 

24

Christoph J. Flaherty, P.E.

 

That's obviously a compound

question and it goes beyond the

scope of this witness's expertise.
MR. McGLYNN: No, IL

certainly beg to differ, but I

will ask it in a non-compound way.
BY MR. McGLYNN:

Q. How can you eliminate the
range as a cause of the fire?

MR. VOTER: Objection; form
and foundation.
MR. McGLYNN: Sorry, you're
right.
BY MR. McGLYNN:

Q. How can you eliminate the
electrical components of the range as a
cause of the fire?

MR. VOTER: Thank you.
THE WITNESS: I was about to
make that clarification myself.

The electrical components did not

indicate any evidence of

electrical damage. They indicated

evidence that was consistent with

 

Golkow Litigation Services Page 152

 

 
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 154 of 221

Christoph J. Flaherty, P.E.

 

 

 

 

1 fire attack. There was also no

2 electrical arcing identified. At
3 the time that the circuitry on the
4 range was burned, it was no longer
° energized.

6 BY MR. McGLYNN:

7 Q. Okay. So if the fire had

8 started on the stovetop and the control

9 panel or range was energized, would you
19 have expected to see electrical activity
11 or arcing on the wiring that you

12 examined?

13 MR. VOTER: Object to the

14 form.

15 THE WITNESS: Yes, normally
16 I would expect that.

17 BY MR. McGLYNN:

18 Q. Okay. I want to direct you
19 to your Conclusion No. 4. "The observed
20 electrical arcing on the FD-HTR circuit
21 wire was either caused by fire attack or
22 by mechanical damage to the insulation of
23 the conductor."

24 Is that still your opinion

 

 

 

 

Golkow Litigation Services Page 153
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 155 of 221

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

L

Golkow Litigation Services

Christoph J. Flaherty, P.E.

within a reasonable degree of scientific

certainty?

A. Yes.

Q. Okay. And does the second
one -- I apologize. I'm just having a

hard time getting these out of the way.
The second line which is,
"No additional evidence was available
which would allow a determination that
either fire attack or mechanical damage
was the more likely cause of the
electrical failure in the FD-HTR
circuit," is that still your opinion

within a reasonable degree of scientific

certainty?
A. vest.
Q. Okay. Now, Mr. Voter had

asked you questions about whether or not
their having a specific larger relay you
saw as well as the thermal protection
employed with this light bulb assembly.
Do you recall being asked a lot of
questions about those two items?

A. Yes.

 

Page 154

 
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 156 of 221

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

 

Golkow Litigation Services

Christoph J. Flaherty, P.E.

 

 

QO. Does the addition of a
thermal protector or the larger relay
cause you to eliminate the light bulb
assembly as a potential source of
ignition?

A. No, not completely.

Q. Okay. And can you
explain -- well, first of all, let me ask
you in your report, you did not -- you do
not contend that the -- it does not seem
to me like your opinion is that the relay
was defective, or do you have an opinion
on whether or not the particular relay
installed at the time of the fire was or
wasn't effective?

MR. VOTER: Effective or
defective?

MR. McGLYNN: TI said
effective.

MR. VOTER: I object to the
question. Can I hear it again?

(Court reporter read back
the preceding question.)

MR. McGLYNN: So let me

 

Page 155
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 157 of 221

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

 

Christoph J. Flaherty, P.E.

 

rephrase that.
BY MR. McGLYNN:

Q. Okay. Do you have an
opinion about whether or not the relay
that was installed that we've been
discussing at the time of the fire was
effective or not?

MR. VOTER: Object to the
form.
THE WITNESS: No.
BY MR. McGLYNN:

Q. Okay. Had the relay been
properly designed and installed, would
that cause you to eliminate the light
bulb assembly as a potential cause of
this fire?

A. No. I think you mentioned
other possibilities were how the light
might be illuminated without a defective
relay.

Q. Right. And I'm going to ask
you about that in a second, but the same
question goes for the thermal protection.

Does the fact that a thermal protection

 

 

Golkow Litigation Services Page 156

 

 
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 158 of 221

10

il

12

13

14

15

16

17

18

19

20

21

22

23

24

 

Golkow Litigation Services

Christoph J. Flaherty, P.E.

 

device existed or was found or recovered
among the evidence cause you to eliminate
that light bulb assembly as a potential
source of ignition in the top-third

compartment of the refrigerator?

A. No.
Q. Okay. And can you explain
why you cannot eliminate -- I mean, at

the risk of being redundant, why you
can't eliminate that light bulb assembly?

MR. VOTER: At the risk of
being what, Joe?

MR. McGLYNN: Redundant.

THE WITNESS: Well, we see
appliances with thermal protectors
cause fires with more regularity
than we would like. So I think in
my earlier answers to Mr. Voter's
questions, I often prefaced with
properly selected, properly
installed and not degraded
performance of any kind, which are
things that we can't rule out in

this instance.

 

 

Page 157
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 159 of 221

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

 

Christoph J. Flaherty, P.E.

 

BY MR. McGLYNN:

Q. Okay. And just one example
may be thousands of Broan-NuTone fans
that were the subject of a recall. Have
you ever worked or examined any of those
Broan-NuTone fans?

MR. VOTER: Objection; form,
foundation, relevance.
THE WITNESS: JI don't think

there has been any recall, but I

have looked at numerous bathroom

ventilation fans with thermal
protectors installed that have
failed and caused fires.

BY MR. McGLYNN:

QO. Okay. Have you ever seen
other appliances which have had a thermal
protection device that's failed and
caused a fire?

A. Me's).

Q. I should say an appliance
that caused a fire which nevertheless had
a thermal protection device installed in

iit.

 

 

Golkow Litigation Services

 

 

 

Page 158
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 160 of 221

Christoph J. Flaherty, P.E.

1 MR. VOTER: Object to the |
} 2 form and foundation.
3 THE WITNESS: Yes.
4 BY MR. McGLYNN:
° Q. Okay. Is it fair to say
6 that most electrically powered products
7 on the market today have thermal
8 protection devices of some kind?
9 MR. VOTER: Objection.
10 THE WITNESS: I'm not sure
11 if I would say most. I guess that
| 12 kind of depends on -- yeah, the
13 question is a little bit too
14 broad. It kind of depends on what
is we talked about, electrical
16 products, what levels of thermal
17 protection. Yeah, in the broader
18 sense, most, most electrical
19 products have some form of thermal
20 protection.
21 BY MR. McGLYNN: |
22 Q. Are you asking me a question |
23 now, C.J.?
24 A. No. I was just trying to

 

 

Golkow Litigation Services Page 159
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 161 of 221

Christoph J. Flaherty, P.E.

 

 

 

1 think about the way that you had phrased
2 it. Yeah, I think that's accurate.

3 Q. That most electrically

= powered products have a thermal

S protection device installed?

6 A. Have some form of thermal

/ protection. I wouldn't necessarily

8 say -- you know, it depends on the type

9 of product, regarding the type of device
» and all of those things, but yes.

11 Q. Okay. And I guess my next
12 question which you've already anticipated
13 was what causes you to be unable to --

14 why can't you eliminate the whole

15 assembly as a potential source of

16 ignition here?

17 MR. VOTER: Objection; asked
18 and answered.

19 THE WITNESS: Because of its
20 location and its capacity to

21 generate heat in that area and

22 because of the determination of

23 the fire origin in the area of the
24 top of the refrigerator.

 

Golkow Litigation Services Page 160

 

 
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 162 of 221

 

10

il

12

| 13

14

15

 

16

17

18

19

20

21

22

23

 

24

Christoph J. Flaherty, P.E.

 

BY MR. McGLYNN:

QO. Okay. Your Conclusion No. 9
is, "Potential fire causes within the
area of fire origin inside the top of the
Ellis refrigerator are limited to failure
of the FD-HTR heater circuit insulation
due to mechanical damage sustained over
years of use or ignition of combustible
food storage containers close to, or in
contact with, the internal light fixture.
In either case, the fire was caused by a
defect within the refrigerator."

Do you still hold that
opinion within a reasonable degree of

engineering certainty?

A. Views .

Q. Were you able to -- have
you -- in evaluating the evidence in this
case, have you evaluated -- have you

observed or identified any other
electrical sources, competent sources of
ignition that you weren't otherwise able
to eliminate as the cause of the fire?

A. No.

 

 

 

Golkow Litigation Services Page 161

 
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 163 of 221
Christoph J. Flaherty, P.E.

1 Q. Does -- I'm going to ask you
2 the same question for any of these five
3 questions. For any of these five

: conclusions -- I'm sorry.

° Does the effectiveness of

6 the larger relay or thermal protection

7 device that was photographed by Mr.

8 Nemeth or Nemeth impact or cause you to
2 alter any of these five conclusions?

19 A. No.

11 MR. McGLYNN: I don't have
12 any other questions. Mr.

13 Flaherty, thank you.

14 a

15 EXAMINATION

16 a

17 BY MR. VOTER:

Ts Q. Mr. Flaherty, am I correct
= that your role was to assess potential
20 electrical causes of the fire?

at A. Yes. I would qualify my

i role as assess potential electrical

= causes of the fire and opine as to which
= potential fire causes are in the area of

 

 

 

Golkow Litigation Services Page 162
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 164 of 221

Christoph J. Flaherty, P.E.

 

| 1 determined fire origin in the top portion
2 of the refrigerator.
3 Q. Okay. That's something you
4 understood at the time of the evidence
9 exam?
6 A. The aspect of analyze the
/ potential electrical fire causes was
8 certainly understood at the time, yes.
9 Yes.
10 Q. Okay. It was not your role
11 to assess nonelectrical causes of the
} + fire, correct?
13 A. Correct.
14 Q. I'm curious about your
15 testimony just now in response to Mr.
16 McGlynn's questions about the light bulb.
Li You said if the relay and the thermal
18 protector were properly selected,
| 1? properly installed -- excuse me. We were
20 talking only about the thermal protector.
21 You said if the thermal
22 protector was properly selected, properly
23 installed and not degraded, then it would
24 have prevented this fire, correct?

Golkow Litigation Services Page 163

 

 

 
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 165 of 221

 

10

11

12

13

14

15

16

17

18

 

19

20

21

22

23

24

 

Christoph J. Flaherty, P.E.

 

A. ess.

Q. And you have no
information --

A. I'm sorry. I need to modify
that answer. It would have prevented a

fire starting as a result of the bulb
overheating.

Q. Fair enough. You have no
information about whether its selection
was proper, correct?

A. Correct.

QO. You made no effort to find
out whether its selection was proper,
correct?

MR. McGLYNN: Well,
objection.

BY MR. VOTER:

Q. Okay. You can answer the
question.
A. IT wasn't -- I made an

effort, but I wasn't able to determine
whether its selection was proper.
Q. What effort did you make?

A. To see what the expected

Golkow Litigation Services Page 164

 
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 166 of 221

Christoph J. Flaherty, P.E.

1 temperatures were and to see what its

2 setpoint was.

3 Q. What did you do to try to

4 determine that?

9 A. I reviewed the LG

6 documentation.

7 QO. Oh, was the information in
| 8 there?

2 A. I saw the temperature

10 testing was in there, and I don't recall
= the setpoint temperature, if it was in
= there for the thermal protector.

13 Q. Did you ask Mr. McGlynn to
14 find out?

15 A. No.

16 Q. And since they were testing
17 refrigerators that didn't have thermal
18 protection, are you surprised that there
19 wasn't information about the thermal

20 protector in there?

21 MR. McGLYNN: Objection.

22 THE WITNESS: No.

23 BY MR. VOTER:

24 Q. Do you have any information

 

 

 

Golkow Litigation Services Page 165
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 167 of 221

Christoph J. Flaherty, P.E.

 

 

 

1 that the thermal protector in the Ellis's
2 refrigerator was improperly installed?
3 A. No.
7 Q. Do you have any information
= that the thermal protector installed in
6 the Ellis's refrigerator was degraded to
7 the point that it was not effective?
| 8 A. No.
9 MR. McGLYNN: Object.
10 BY MR. VOTER:
11 Q. Your Conclusion 5 says,
12 "Potential fire causes within the area of |
13 fire origin inside the top of the Ellis
14 refrigerator are limited to failure of
15 the FD-HTR heater circuit insulation due
16 to mechanical damage sustained over years
Wy of use." Do you recall saying that?
18 A. Yes.
19 Q. Does your report anywhere
20 say that it could have been because of
21 damage done to the harness during
22 installation?
23 MR. McGLYNN: Objection.
24 THE WITNESS: I don't think

 

 

Golkow Litigation Services Page 166
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 168 of 221

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

 

Christoph J. Flaherty, P.E.

SO.
BY MR. VOTER:

Q. So the only mention of a
mechanism of damage to the wiring harness
is mechanical damage sustained over years
of use --

MR. McGLYNN: Objection.
MR. VOTER: IT didn't finish
my question.
BY MR. VOTER:

QO. Have you done any research
or made any effort to determine how a
refrigerator of this design could have
resulted in mechanical damage to the
wiring harness over years of use?

MR. McGLYNN: Objection.
THE WITNESS: Not separate
from reviewing the designs.
BY MR. VOTER:

Q. Which don't tell you how it
could have produced mechanical damage to
the wire harness, correct?

MR. McGLYNN: Object.
THE WITNESS: They indicate

 

 

 

Golkow Litigation Services Page 167
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 169 of 221

10

11

12

 

13

14

15

16

17

18

19

20

21

22

 

23

24

Christoph J. Flaherty, P.E.

 

the potential for mechanical

damage based on the location of

the transition and the motion of
the hinge, but there is no
specific indication that it would
be.

BY MR. VOTER:

Q. And you never looked at an
exemplar to see whether there in fact
would be that problem, correct?

MR. McGLYNN: Objection.

THE WITNESS: That's right.

MR. VOTER: Okay. That's
all I have. Thank you.

MR. McGLYNN: All right. I

Just have a couple follow-ups, Mr.

Flaherty.

EXAMINATION
BY MR. McGLYNN:
Q. Have you seen any LG
documents which would suggest that the

selection and installation of the wiring

 

Golkow Litigation Services

 

Page 168

 

 
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 170 of 221

Christoph J. Flaherty, P.E.

 

 

 

 

| harness was appropriate for this
2 particular refrigerator?
| 3 MR. VOTER: Objection to
4 form.
| 5 THE WITNESS: I'm sorry.
6 Could you say that again? The
q selection and installation of the
8 wiring harness?
9 BY MR. McGLYNN:
10 Q. Right. Do you understand
11 the question that I just asked?
12 A. I don't think I do.
13 Q. Okay. All right. I thought
14 I heard you say in answering Mr. Voter's
15 question that there is a few ways that
16 the wiring could fail; is that right?
” Not the thermal protection and the wiring
18 harness. I'm just asking you about the
| 19 wiring harness now.
20 MR. VOTER: Is there a
21 question?
22 THE WITNESS: So are we
23 talking about a specific --
24 MR. McGLYNN: Thanks,

 

 

 

Golkow Litigation Services Page 169

 
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 171 of 221

10

11

12

13

14

15

16

17

19

20

 

21

22

23

24

Golkow Litigation Services

Christoph J. Flaherty, P.E.

Warren. If you have an objection,

raise it. Okay?

MR. VOTER: I'm waiting for

a question to make the objection,

but I didn't hear one.

MR. McGLYNN: Okay.
BY MR. McGLYNN:

Q. Have you received any
documents from LG which suggest that the
selection and installation and the
routing of the wiring harness for this
refrigerator was appropriate?

MR. VOTER: Object to the
form.

THE WITNESS: I see nothing
in the design documents to
indicate that it is inappropriate.

BY MR. McGLYNN:

Q. I didn't ask you that
question. I don't care about the design
documents. I want to know about all the

documents that you got in discovery in
this case. Did LG show you that the

routing, installation and selection of

 

 

 

Page 170
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 172 of 221

1

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

 

Golkow Litigation Services

Christoph J. Flaherty, P.E.

 

the wiring harness was appropriate? Did

they test it for this one? Have you seen

records showing that it was tested, that
there was some post-manufacture
inspection that was done? Do you know
whether someone actually saw how this
thing was installed or routed? Have you
seen any of those documents?

MR. VOTER: Objection;

compound guestion.

THE WITNESS: No.
BY MR. McGLYNN:

QO. Do you know whether or not
the plaintiff asked for those documents?

A. No.

Q. Can you tell me if the same
questions would apply to the thermal
protection device for this particular
light bulb assembly? Have you seen any
documents whatsoever from LG that show
that this thing, that the light bulb
assembly thermal protection device was

inspected, tested, looked at by anyone

after it was placed in this refrigerator?

 

 

 

Page 171
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 173 of 221

10

11

12

13

14

15

16

17

 

18

20

21

22

23

24

Christoph J. Flaherty, P.E.

A. No.
QO. Do you know whether or not
the plaintiff had to ask for that?
A. No.
MR. McGLYNN: JI don't have
any other questions.

EXAMINATION
BY MR. VOTER:

Q. Mr. Flaherty, did you review
the UL documents on this product?

A. Yes.

Q. And isn't the wiring and
electrical systems of the refrigerator
addressed in those documents and in the
standard?

MR. McGLYNN: Objection.
THE WITNESS: The UL

documents are generic I guess I

would qualify them as. UL

typically tests or examines an
exemplar of a product line and

then covers the whole host of

 

Golkow Litigation Services Page 172

 
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 174 of 221

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

 

Christoph J. Flaherty, P.E.

available models under the same
examination or investigation. So
I do not have any high degree of
certainty that the specific UL
testings or examinations apply to
this specific refrigerator.

BY MR. VOTER:

Q. Well, you don't know either
way?

A. Yeah.

Q. You didn't even review the

whole thing, correct?
MR. McGLYNN: Objection.
BY MR. VOTER:
Q. Correct?
A. Correct.
MR. VOTER: Okay. I have no
other questions.
MR. McGLYNN: Okay.
MR. VOTER: All right.
(Witness excused.)
(Deposition concluded at

3:08 p.m.)

 

 

Golkow Litigation Services Page 173
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 175 of 221

 

10
11

12

13

14

ils

16
17

 

18

19
| 20
21
22
23
24

Christoph J. Flaherty, P.E.

CERTIFICATION

I, JARED E. BITTNER RPR and
NJ CSR License No. 30X1I00235600, do
hereby certify that prior to the
commencement of the examination,
CHRISTOPH J. FLAHERTY, P.E., was duly
remotely sworn by me to testify to the
truth, the whole truth and nothing but
the truth.

IT DO FURTHER CERTIFY that
the foregoing is a verbatim transcript of
the testimony as taken stenographically
by me at the time, place and on the date
hereinbefore set forth, to the best of my
ability.

IT DO FURTHER CERTIFY that I
am neither a relative nor employee nor
attorney nor counsel of any of the
parties to this action, and that I am
neither a relative nor employee of such
attorney or counsel, and that I am not
financially interested in this action.

al Tm |

JARED E. BITTNER, RPR
NJ CSR No. 30XI00235600
Notary Public

Dated: January 7, 2021

 

 

 

Golkow Litigation Services Page 174
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 176 of 221

Flaherty Engineering Investigation Report

By Christoph J. Flaherty, PE November 6, 2020

 

Subject: Ellis Residence Fire
DOL: March 10, 2019
Flaherty Engineering Case 1505

1. Assignment

On January 24, 2020, I was asked to assist in investigating the fire which occurred on
March 10, 2019 at the Ellis residence located at 54 Love Lane in Norwood, Pennsylvania. The
purposc of the investigation was to-assist and provide electrical engineering expertise to the fire
origin and cause investigation being conducted by Mr. Robert Buckley of Robert Buckley Fire

& Explosion Investigations.

2. Background

 

On March 10, 2019, a fire occurred in the kitchen of the Ellis residence at approximately
7 p.m. while the family was out. After the Norwood Fire Company extinguished the fire, Fite
Chief Chris Givens conducted an investigation and determined that the fire originated inside
the Ellis’s refrigerator. Mt. Buckley and Mr. Frank Ferrese, PhD, PE of FJT Technologies, LLC
conducted a scene inspection during which evidence was removed and retained as well as a
destructive laboratory evidence examination ptior to Flahetty Engineering’s involvement. See

Mr. Buckley’s report under separate cover for a summary of his investigation and findings.

3. Investigation

 

The Flaherty Enginecring investigation has included, but is not limited to:
1. Review of scene and evidence photographs taken by Mr. Frank Fertese.
2. Review of the report of Mr. Robert Buckley dated November 2, 2020.
3. Examination of retained vide on February 5, 2020.
4. Review of Ellis refrigerator documentation.
5. Review of documents associated with a light overheating issue in the subject reftigerator.
6. Review of the following deposition transcripts:
a. Mr. Thomas Ellis, taken onl February 27, 2020;
b. Ms. Lisa Ellis, taken on February 27, 2020; and
c. Fire Chief Chris Givens, taken on March 6, 2020.

 

902 KARP COURT * SEVERNA PARK, MARYLAND « 21146 EXHIBIT

Flaherty-1

PHONE: 410-541-6466

tabbles’

 

01/07/21

JEB

 

 
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 177 of 221

FEC Case No.; 1505 | 2
Ellis Residence Fire

Additional discovery material may be produced and made available for analysis. Opinions
expressed in this report may be amended and/or modified based on information revealed in

any additional material produced.

3.1 Review of Ferrese Scene and Evidence Exam Photographs

Plaherty Engineering was provided with a 591-page pdf document consisting of copies
of Dr. Ferrese’s scene photographs and a 559-page pdf document consisting of copies of Dr.
Fertese’s evidence exam photographs. Copies of photographs referred to in this report are
included in Appendix A. Dr. Ferresc’s scene photographs documented the location of the
appliances and burn patterns in the kitchen, the status of the electrical distribution panel, and
the removal of evidence. As the refrigerator was removed, the refrigerator power cord and the
power cord for the gas range next to the refrigerator were depicted plugged into an undamaged
duplex outlet behind the refrigerator (Photographs 1 & 2). As the range was removed, a green
extension cord was depicted plugged into another undamaged duplex outlet located behind the
range (Photograph 3). No cords were depicted plugged into the receptacle end of the extension
cord. In the photographs depicting the removal of the refrigerator and the range, no fire
damage was evident at or around the duplex outlets or on the power cords for the refrigerator
or range. All branch circuit wiring depicted in the Ferrese scene photographs appeared intact.

In addition to fire damage around the refrigerator, the Ferrese scene photographs
depicted severe fire damage to the top of the interior of the refrigerator. Portions of a wiring
harness were visible extending from the back right rear corner near the top of the refrigerator
actoss the interior back and top of the refrigerator to the left front corner of the top of the
refrigerator (Photographs 4 & 5). The metal portions of the interior light housing were also
visible in the photographs.

Dr. Ferrese’s evidence exam photographs depicted the inspection of the refrigerator
and the temoval of the witing harness. These photographs mote clearly documented the
location and routing of the wiring harness prior to its removal (Photographs 6-8). After the
removal of the wiring harness, Dr. Ferrese’s photographs depicted arcing on some of its
conductors (Photographs 9-11).

Dt. Ferrese’s photographs also documented the condition of the range and its wiring.
The range’s control display and wiring were fire-damaged with the most sevete damage
occurring on the left side of the range (the side adjacent to the refrigerator) and damage

becoming progressively less sevete towards the right side (Photographs 12-15). No evidence

———————— Flaherty Engineering Consulting, LLC —————~—— =
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 178 of 221

FEC Case No.: 1505 | 3
Ellis Residence Fire

of electrical arcing or other electrical failure separate from damage caused by fire attack was

noted. The range power cord appeated to be undamaged.

3.2 Report of Mr. Robert Buckley

Mr. Robert Buckley of Robert Buckley Fire & Explosion Investigations conducted a
fire origin and cause investigation and issued a report summarizing his investigation and
findings on November 2, 2020. In his report, Mr. Buckley documented interviews he conducted
with Mr. and Mrs. Ellis during which they reported that they did not use either of the two
ranges in the kitchen on the day of the fire and that the range located next to the refrigerator
was only used for special occasions requiring extra cooking capacity. The last use of the range
next to the refrigerator was ovet two months before the fire.

In his report, Mr. Buckley summarized his use of primarily fire pattern and fire dynamics
analysis to determine that the fire originated inside the refrigerator. Mr. Buckley specifically
ruled out fire origins on the stove or at the rear of the stove or refrigerator. See Mr. Buckley’s

teport for morc detailed discussion regarding fire origin determination.

3.3 Evidence Examination

An examination of the retained evidence was conducted on February 5, 2020 at
Evidence Management Center's facility in Wilmington, Delaware. Observations noted from Dr.
Fettese’s photogtaphs above were confirmed, namely that damage to the range wiring
decreased in severity from the left to the right (Photographs 16 & 17), most damage occurred
in the top ot the refrigerator interior (Photographs 18 & 19), and that there was electrical arcing
on the internal wiring recovered from the top of the refrigerator (Photographs 20-23). The
arced conductors were traced and determined to be: a brown-insulated conductor (tagged with
number 18) which came from a connector attached to the main control board with the
corresponding pin marked “FD-HTR” (Photographs 24 & 25); and a blue-insulated conductor
(tagged number 17) which could not be traced back to a specific connector but which
corresponded to the color generally used for neutral conductors in this refrigerator
(Photograph 26). Based on the location of the atcing on the wires and the routing of the witng
harnesses in which the conductors were run, the electrical failure occurted in the left forward
quadrant of the top of the refrigerator, near the left door hinge (Photographs 27 & 28).

The power cords of both. the refrigerator and range, as well as the green extension cord
recovered from behind the range, were inspected. The power cords were undamaged by the

fite. The green extension cord which, although plugged in, appeared to be unused, had a section

 

<= Flaherty Engineering Consulting, LLC
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 179 of 221

FEC Case No.: 1505 | 4
Ellis Residence Fire

of approximately 6 inches where the insulation was burned away, but no evidence of electrical

activity was found.

3.4 Ellis Refrigerator Documentation

The receipt for the subject refrigerator identified it as a Kenmore-branded model
79577562600 with serial number 707K R00296 which was purchased on February 15, 2008.
Based on the serial number, the refrigerator was manufactured in Korea in July of 2007. The
refrigerator Use & Care Guide and Service Manual were reviewed and revealed that in the area
of the identified electrical failure the refrigerator had a water filter, the internal light fixture,
and the wiring hatness transition from inside the refrigerator to the upper left door hinge for
supply to components in the left door. The Service Manual showed that the refrigerator was
supplied with one type of main printed circuit board (PCB) through July, 2007 (designated
6871JB1431) and a second type of main PCB from August, 2007 (designated EBR34917102).
On both versions of the circuit board, the connector for the wiring harness containing the
atced, brown-insulated wire was designated “CON2”. A wiring diagram in the Service Manual
showed that the brown-insulated conductor from CON2 supphed the “FRONT HEATER”,
the “R-DOOR HEATER’, and the “L-DOOR HEATER”. The wiring diagram also showed
that blue-insulated conductors ate normally used to serve the neutral conductor function,

providing the electrical return path to complete the associated circuits.

3.5 LG Light Overheating Issue

 

Confidential documents provided by LG summarized their testing and analysis of an
identified light overheating issue in this model of refrigerator and others manufactured starting
in 2006. During their investigation, LG determined that the relay controlling the interior
refrigerator light could stick shut, thus causing the light to remain on for an extended time,
even with the doors shut. LG conducted testing which showed that the plastic components of
the light fixture could overheat and melt in these circumstances. The LG testing did not result
in the ignition of fires, but they neglected to test with combustible food storage containers
placed near the light, as would be expected duting normal use.

LG implemented a number of corrective measures to prevent the overheating issue,
first changing the lens cover material and the light housing material before adding thermal
protection and finally changing the light control relay to a larger model that would be less
susceptible to sticking. The Ellis’s refrigerator was manufactured without thermal protection
and with the original relay. On February 1, 2009, LG issued Service Flash SF46-520R2 which

 

 

Flaherty Engineering Consulting, LLC
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 180 of 221

FEC Case No.: 1505
Ellis Residence Fire

had technicians replace the older main PCB (with the smaller ight control relay) with a newer
version which included the larger relay. The Service Flash did not install thermal protection.
Recotds of Service Repair Orders conducted on the Ellis’s refrigerator included a line-item for
the completion of SF46-520 on February 28, 2009.

4. Discussion

 

All potential electrical failures external to the refrigerator were eliminated as possible
fire causes. Potential failures considered included failures of the power cords of either the
refrigerator or range, failure of the green extension cord behind the range, failure of the house
branch circuit wiring or outlets, and failure of the range’s electronics or internal wiring. In the
case of the power cords and the house wiring and outlets their elimination was based on the
lack of damage to them. In the case of the green extension cord and the range wiring and
electronics, their elimination was based on them showing evidence of fire damage consistent
with their location without evidence of electrical failure.

The location of the electrical arcing identified on the FD-HTR circuit in the left forward
quadrant of the top to the refrigerator in the area of the top left door hinge (Photographs 27
& 28) is consistent with a fite starting in the front of the top part of the refrigerator. If a fire
had started in the back or towards the right side of the refrigerator, the wiring harness should
have first been compromised and failed closer to those areas based on how it was routed
(Photograph 29). The observed location of the electrical failure in the top left forward corner
of the refrigerator provides arc-mapping substantiation of Mr. Buckley’s elimination of the
stove-top as a potential area of fire origin and his determination that the fire originated in the
top of the refrigerator. The observed electrical arcing on the FD-HTR circuit wire was either
caused by fire attack or by mechanical damage to the insulation of the conductor.

The fire starting at the top front of the refrigerator as a result of combustible food
storage items coming into contact with an overheating light fixture explains the observed arcing
and fire patterns. Although review of the service records and the configuration of the main
PCB of the Ellis’s refrigerator confirm that the corrective Service Flash had been performed
on it, the potential of a fire starting as the result of the light remaining ‘on’ for an extended
time with combustible food storage containers in contact with it cannot be discounted since
the Ellis refrigerator lacked the thermal protection which would have de-energized an
overheating light.

Potential fire causes within the area of fire origin inside the top of the Ellis refrigerator
ate limited to failure of the FD-HTR heater circuit insulation due to mechanical damage

 

—_—_——-——— Flaherty Engineering Consulting, LLC

5
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 181 of 221

FEC Case No.: 1505 | 6
Ellis Residence Fire

sustained over years of use or ignition of combustible food storage containers close to, of in
contact with, the internal light fixture. In either case, the fire was causcd by a defect within the
refrigerator which led to the insulation damage or to the light becoming hot enough to ignite
adjacent combustible material. Abnormal use or abuse of the refrigerator were eliminated as
contributing to the possible fire causes since thete was no evidence observed which indicated
the potential for abnormal usé*6t ‘abuse. Since the witing harness is not accessible to the
customer and should have been sufficiently well-protected from mechanical damage if it had
been designed and manufactured properly, any mechanical damage it sustained was due to a

defect in the refrigerator at the time of manufactute.

5. Conclusions

 

Based on my investigation, I have concluded, to a reasonable degtee of engineering
certainty, that:

1. All potential electrical failures external to the refrigerator in the Ellis residence were
eliminated as possible fire causes. Potential failures considered included failures of the
power cotds of either the refrigerator or range, failure of the green extension cord
behind the range, failure of the house branch citcuit wiring or outlets, and failure of the
range’s electronics or internal wiring.

2. The location of the electrical arcing identified on the FD-HTR circuit in the left forward
quadrant of the top to the refrigerator is consistent with a fire starting in the front of
the top part of the refrigerator.

3. The observed location of the electrical failure in the top left forward corner of the
refrigerator provides atc-mapping substantiation to Mr. Buckley’s elimination of the
stove-top as a potential area of fire origin and his determination that the fire originated
in the top of the refrigeratotr.

4. The observed electrical arcing on the FD-HTR circuit wite was either caused by fire
attack or by mechanical damage to the insulation of the conductor. No additional
evidence was available which would allow a determination that cither fire attack or
mechanical damage was the mote likely cause of the electrical failure in the FD-HTR
circuit.

5. Potential fire causes within the atea of fire origin inside the top of the Ellis refrigerator
are limited to failure of the FD-HTR heater circuit insulation due to mechanical damage
sustained over years of usc or ignition of combustible food storage containers close to,

or in contact with, the internal light fixture. In either case, the fire was caused by a defect
within the refrigerator.

 

-———— Flaherty Engineering Consulting, LLC
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 182 of 221

FEC Case No.: 1505 | 7
Ellis Residence Fire

This report and the opinions expressed herein ate based on the currently available
information and are subject to amendment and modification should additional information

become available.
Submitted by:
Ch withugl.. Bhalla

Christoph J. Flaherty, P.E.
Electrical Engineer

 

 

Flaherty Engineering Consulting, LLC
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 183 of 221

FEC Case No.: 1505 | A-1
Ellis Residence Fire

Appendix A
Report Photographs

 

Flaherty Engineering Consulting, LLC
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 184 of 221

FEC Case No.: 1505 | A-2
Ellis Residence Fire

Photograph 1

(Ferrese Scene Photo 384)

 

Area of fire in Ellis kitchen

 

 

Flaherty Engineering Consulting, LLC
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 185 of 221

FEC Case No.: 1505 | A-3
Ellis Residence Fire

Photograph 2

(Ferrese Scene Photo 414}

 

Refrigerator and range power cords

 

 

Flaherty Engineering Consulting, LLC
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 186 of 221

FEC Case No.: 1505 | A-4
Ellis Residence Fire

Photograph 3

(Ferrese Scene Photo 467)

res P

Gee, aa
<a LF site»
Via ee

Unused green extension cord plugged in behind range

 

 

 

Flaherty Engineering Consulting, LLC
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 187 of 221

FEC Case No.: 1505 |} A-5
Ellis Residence Fire

Photograph 4

(Ferrese Scene Photo 127)

 

Refrigerator interior

 

Flaherty Engineering Consulting, LLC

 
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 188 of 221

FEC Case No.: 1505 | A-6
Ellis Residence Fire

Photograph 5

(Ferrese Scene Photo 136)

 

Refrigerator interior, path of wiring harness and light fixture remnant indicated

 

Flaherty Engineering Consulting, LLC ————— —
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 189 of 221

FEC Case No.: 1505 | A-7
Ellis Residence Fire

Photograph 6

(Ferrese Exam Photo 57)

 

Routing of wiring harness

 

 

Flaherty Engineering Consulting, LLC
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 190 of 221

FEC Case No.: 1505 | A-8
Ellis Residence Fire

Photograph 7

{Ferrese Exam Photo 95)

 

Routing of wiring harness

 

 

Flaherty Engineering Consulting, LLC
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 191 of 221

FEC Case No.: 1505 | A-9
Ellis Residence Fire

-Photograph 8

(Ferrese Exam Photo 98)

 

Routing of wiring harness

 

 

Flaherty Engineering Consulting, LLC
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 192 of 221

FEC Case No.: 1505 | A-10
Ellis Residence Fire

Photograph 9

(Ferrese Exam Photo 177)

 

Examination of wiring harness, area of arcing indicated

 

 

Flaherty Engineering Consulting, LLC
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 193 of 221

FEC Case No.: 1505 | A-11
Ellis Residence Fire

Photograph 10

(Ferrese Exam Photo 180)

 

Examination of wiring harness, area of arcing indicated

 

Flaherty Engineering Consulting, LLC

 
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 194 of 221

Photograph 11

(Ferrese Exam Photo 185)

 

Arcing on wiring harness conductor

 

Flaherty Engineering Consulting, LLC

FEC Case No.: 1505
Ellis Residence Fire

 

A-12
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 195 of 221

FEC Case No.: 1505 | A-13
Ellis Residence Fire

Photograph 12

(Ferrese Exam Photo 407)

 

Range control wiring, left side

 

 

Flaherty Engineering Consulting, LLC
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 196 of 221

FEC Case No.: 1505 | A-14
Ellis Residence Fire

Photograph 13

(Ferrese Exam Photo 403)

7°

 

Range control/display board, left side

 

Flaherty Engineering Consulting, LLC

 
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 197 of 221

FEC Case No.: 1505 | A-15
Ellis Residence Fire |

Photograph 14

(Ferrese Exam Photo 400)

 

Range control/display board, right side

 

Flaherty Engineering Consulting, LLC

 
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 198 of 221

FEC Case No.: 1505 | A-16
Ellis Residence Fire

Photograph 15

(Ferrese Exam Photo 397)

eye

 

Range control wiring, right side

 

 

Flaherty Engineering Consulting, LLC
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 199 of 221

FEC Case No.: 1505 | A-17
Ellis Residence Fire

Photograph 16

(Case Photo 47)

 

Damage to range

 

Flaherty Engineering Consulting, LLC

 
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 200 of 221

FEC Case No.: 1505 | A-18
Ellis Residence Fire

Photograph 17

(Case Photo 44)

Bats

, nee =
— papanee | Yaar a ee |
ra rt LI As

 

Damage to range

 

Flaherty Engineering Consulting, LLC —
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 201 of 221

FEC Case No.: 1505 | A-19
Ellis Residence Fire

Photograph 18

(Case Photo 352)

 

Refrigerator damage

 

 

Flaherty Engineering Consulting, LLC
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 202 of 221

FEC Case No.: 1505 } A-20
Ellis Residence Fire |

Photograph 19

(Case Photo 373)

 

Refrigerator damage

 

 

Flaherty Engineering Consulting, LLC
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 203 of 221

FEC Case No.: 1505 | A-21
Ellis Residence Fire

Photograph 20

(Case Photo 285)

 

‘

Arcing on refrigerator wiring harness conductors

 

 

Flaherty Engineering Consulting, LLC
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 204 of 221

FEC Case No.: 1505 | A-22
Ellis Residence Fire

Photograph 21

(Case Photo 292)

 

Arcing on refrigerator wiring harness conductors

 

 

Flaherty Engineering Consulting, LLC
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 205 of 221

FEC Case No.: 1505 | A-23
Ellis Residence Fire

Photograph 22

(Case Photo 288)

 

Arcing on refrigerator wiring harness conductors

 

 

Flaherty Engineering Consulting, LLC
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 206 of 221

FEC Case No.: 1505 | A-24
Ellis Residence Fire

Photograph 23

(Case Photo 294)

 

Arcing on refrigerator wiring harness conductors

 

 

Flaherty Engineering Consulting, LLC
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 207 of 221

FEC Case No.: 1505 | A-25
Ellis Residence Fire

Photograph 24

(Case Photo 401)

 

Tracing arced wire to brown conductor on connector “CON2”

 

 

Flaherty Engineering Consulting, LLC
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 208 of 221

FEC Case No.: 1505 | A-26
Ellis Residence Fire

Photograph 25

(Case Photo 406)

 

Arced wire traced to pin marked “FD-HTR"

 

 

Flaherty Engineering Consulting, LLC
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 209 of 221

Photograph 26

(Case Photo 412)

 

Tracing arced wire

 

Flaherty Engineering Consulting, LLC —

7
A

FEC Case No.: 1505 | A-27
Ellis Residence Fire

oo 4

Sa eae ea
NG gets za fal
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 210 of 221

FEC Case No,: 1505 | A-28
Ellis Residence Fire

Photograph 27

(Case Photo 352)

 

Area of wiring harness electrical failure (seen from back of refrigerator)

 

 

Flaherty Engineering Consulting, LLC
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 211 of 221

FEC Case No,: 1505 | A-29
Ellis Residence Fire

Photograph 28

(Case Photo 383)

 

Area of wiring harness electrical failure

 

Flaherty Engineering Consulting, LLC

 
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 212 of 221

FEC Case No.: 1505 | A-30
Ellis Residence Fire

Photograph 29

(Ferrese Scene Photo 384)

 

Routing of wiring harness and location of failure indicated on scene photo

 

Flaherty Engineering Consulting, LLC

 
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 213 of 221

Flaherty Engineering Consulting

 

CURRICULUM VITAE — CHRISTOPH J. FLAHERTY, P.E.
www. flahertyengineering.net | 410.541.6466

Academic Background

 

M.S., Electrical Engineering, Tufts University, 1994

B.S., Physics, United States Naval Academy, 1992

Certified Fire and Explosion Investigation Program, National Association of Fire Investigators,
2004

Registration and Qualifications

Licensed Professional Engineer in Maryland, Virginia, Pennsylvania, and the District of Columbia
Certified Fire and Explosion Investigator, National Association of Fire Investigators (2004-2017)
Naval Nuclear Propulsion Engineer

Professional Experience

Senior Electrical Engineer, Flaherty Engineering Consulting, LLC, 2009-present

Consulting Electrical Engineer, FORCON International, 2012-present

Consulting Electrical Engineer, Rothfuss Engineering Company, 2014-2019

Consulting Electrical Engineer, RTI Forsensics, 2013-2019

Electrical Engineering Faculty, United States Naval Academy, 2006-2012
Courses/subjects taught: Electrical Circuits, Power Generation and Distribution, Electrical
Motors, Power Supply Design, Fiber Optical Communications, Signals and Systems

Consulting Electrical Engineer, CED Investigative Technologies, Inc., 2006-2012

Senior Electrical Engineer, CED Investigative Technologies, Inc., 2003-2005

Optical Engineer/Laser Safety Officer, Lumera, Inc., 2001-2003

Nuclear Propulsion Plant Engineering Instructor, Trident Training Facility, 1999-2001
Strategic Missile Officer and Quality Assurance Director, USS Florida (SSBN 728), 1997-1999

Shift Maintenance Coordinator and Engineering Watch Officer, USS Florida (SSBN 728), 1996-1999
Naval Nuclear Propulsion and Submarine Training, United States Navy, 1994-1995

      

Professional Societies

Institute of Electrical and Electronics Engineers (IEEE)
National Fire Protection Association (NFPA)
National Association of Fire Investigators (NAFI)

Areas of Expertise

 

@ Electrical consumer products including 2 Electrical power generation and
appliances, tools, computers, extension distribution, including switchgear design,
cords, and surge protectors installation, and maintenance
2 Electrically ignited fires @ Residential and commercial building
@ Electrical grounding and electrical shock wiring
@ Electrical commercial and industrial @ Electrical control systems
equipment including electric motor 9 Conduct of work on electrical systems,
operated pumps, fans, and HVAC units including lockout/tagout procedures and
other OSHA requirements
EXHIBIT
be
# Flaherty-2
01/07/21 JEB

 

 

 
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 214 of 221

Flaherty Engineering Consulting

 

2020 RATES AND POLICIES

Christoph Flaherty's 2020 consulting rate is $290/hr for all standard services including travel,
inspection, research, document review, and testimony. This rate also includes use of standard
investigation and testing tools (digital photography and videography, measurement and power
tools). Work in potentially asbestos-contaminated environments (which Christoph Flaherty is
certified to do) will be billed at $345/hr. Additional fees, such as those for use of specialized
equipment and laboratory space, will be agreed upon and billed at cost.

All expenses incurred for travel (such as air fare, car rental, lodging, meals, tolls, and parking) will
be billed at cost. Personal vehicle travel is billed at the government reimbursable rate (currently
$0.575/mile).

Evidence storage is also offered and billed according to size and nature of evidence. Storage rates
generally range from $25 to $100 per month.
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 215 of 221

Expert Testimony Given by Christoph J. Flaherty, P.E.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Date Case and Court Attorney Client | On Behalf Of
12/10/2003 | Jeffery Johnston and Filomena Piccolino Johnston | Paul V.Reynolds | L.M.A.C, LLC
Deposition | v. The Narragansett Electric Company, et al. v.

L.M.A.C., LLC
5/20/2004 | Erik Kwakwyei v. The Variety Mart, Inc., et al.in | R. Craig Jennings | Erik Kwakwyei
Deposition | the Circuit Court of the City of Alexandria
(CL030303)
6/1/2004 | Geoffrey Manifold v. Wolf Coach, Inc., et al., v. Brian E. Hoffman | Wolf Coach, Inc.
Deposition | James E. Forner, et al. in the U.S. District Court for
the District of the District of Columbia
(1:1CV01114 and 1:02CV01153)
9/14/2004 | PAS-Com, Inc. v. Allied Products, Inc., et al. in the | Walter L. Williams Applica Durable
Deposition | Circuit Court for Montgomery County, Maryland Manufacturing,
(241709-V) Ltd.
4/5/2005 | Hartford Insurance Company of the Midwest, Daniel J. Hart Belkin
Deposition | subrogee of Tabor Auto Service v. Belkin- Components
Components, et al.
12/8/2005 | Allstate Insurance Company, subrogee of Daniel Winn Friddell Allstate Insurance
Deposition | Tam v. A. O. Smith Corporation, et al. in the
Circuit Court for Montgomery County (259865 V)
7/7/2006 | Walter Wilson v. Washington Metropolitan Area Allen Hilliard Walter Wilson
Deposition | Transit Authority in th U.S. District Court for the Legum
District of the District of Columbia (1:03CV01931)
12/1/2006 | Larry Dean Murphy'v. Astorg Ford & Hunter Susan Curry Larry Dean
Deposition | Engineering Co. in the Circuit Court of Wood Brasselle Murphy
County, West Virgiriia (05-C-88)
12/13/2006 | Hartford Fire Insurahce Co., subrogee of Simsbury | Jeffrey C. Sullivan-Schein
Deposition | Pediatric & Adolescent Dentistry v. AFP Imaging | Pingpank Dental Sales &
Corp., Dent-X International, & Sullivan-Schein Services
Dental Sales & Services in the U.S. District Court
for the District of Connecticut (3:05CV01019)

1/23/2007 | Security Square Associates, et al. v. Richard Wood, | William N. Zifchak | Dennis

Deposition | et al. in the Circuit Court for Baltimore County (C- Dodsworth
04-12745)
3/30/2007 | Allstate Insurance Company, subrogee of Quinton | Charles Fratus Allstate Insurance
Deposition | Wilson v. Kolb Electric, Inc. in the Circuit Court
for Prince George's County (CAL06-08082)
5/16/2007 | Kendra Brooks, et al. v. District of Columbia Michael Hicks and | DC Housing
Trial | Housing Authority in the Superior Court of the Dawn Singleton Authority
District of Columbia (CA No. 05-0654)

6/11/2007 | Betty Bell, et al. v. Zenith Electronics Corporation, | Dan Lanier and Circuit City

Deposition | et al. in the Circuit Court for Baltimore County Steve Kelly
(03-C-05-010401)
EXHIBIT

01/07/21

 

3 Flaherty-3

JEB

 

 
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 216 of 221

Flaherty Testimony, Cont. (Page 2)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Date Case and Court Attorney Client | On Behalf Of
4/28/2008 | Religious and Charitable Risk Pooling Trust of the | Juliane C. Miller Belkin
Deposition | Brothers of the Christion Schools and Affiliates, International
a/s/o St. John's College High School v. Belkin
International, Inc., et al. in the Superior Court of
the District of Columbia (2007CA001112B)
11/19/2008 | Schwartz v. Invacare Corporation, et al. in the John E. Lamastra Chubb Insurance
Deposition | Superior Court of New Jersey, Bergen County (L- a/s/o Martin
5819-06) Schwartz
6/25/2009 | Schwartz v. Invacare Corporation, et al. in the John E. Lamastra Chubb Insurance
Trial | Superior Court of New Jersey, Bergen County (L- a/s/o Martin
5819-06) Schwartz
12/22/2010 | Richard J. Edwards v. Hi-Tech Electric, LLC, et al. | Julia Haller Hi-Tech Electric
Deposition | in the Superior Court of the District of Columbia
(2009CA006244B)
6/20/2011 | Charles Casey and Jeannette Casey v. The Geek Christopher R. Best Buy
Deposition | Squad Subsidiary, Best Buy Stores, L.P. in the Dunn
United States District Court for the District of
Maryland (PWG-10-CV-2268)
3/13/2012 | James Hockenbury and Jennifer Hockenbury v. Peter A. Callahan | Friends of Paul's
Arbitration | Friends of Paul's Run and PECO Energy and Run
Square D Company in the Court of Common Pleas
Philadelphia County (September 2009 term, No.
1333)
3/14/2012 | Shipwright Harbor Marina, Inc. v. Victor Hastings, | Ronald A. Baradel Shipwright
Deposition | et al. in the Circuit Court for Anne Arundel County Harbor Marina
(C11-161850)
6/18/2014 | Allstate Insurance Company a/s/o Audoersch, et al. | Edward W. Brady | Allstate Insurance
Deposition | v. NVR, Inc. t/a NV Homes and/or Ryan Homes a/s/o Audoersch,
and Hilltop Electric Company in the Circuit Court et al.
for Baltimore County (03-C-13-003852, 53, and
55)
12/3/2014 | Cumberland Insurance Group a/s/o David Lisa C, Delmarva Power
Deposition | Wickwire v. Delmarva Power in the Circuit Court | McLaughlin
for Dorchester County Maryland (09-C-13-020765)
12/9/2014 | Catherine Hockenberry, Clinton L. Hockenberry v. | Charles Young Erie Insurance as
Hearing | William S, Ward III in Magisterial District Court carrier for
19-3-10, Dillsburg, Pennsylvania (MJ-19310-CV- William §. Ward
0000170-2014) Ul
5/5/2016 | Allstate Insurance Company a/s/o Stanley Nutt v. Charles Fratus Allstate Insurance
Depostion | Washington Home Doctors, Inc. in the Circuit a/s/o Stanley Nutt
Court for Prince George’s County (CAL15-18259)
5/17/2016 | HDI Gerling America Insurance Company v. Lee Eckell Worth &
Deposition | Worth & Company, Inc. v. Malco Electric, Inc. in Company, Inc.

 

the United States District Court for the District of
New Jersey (14-3614)

 

 

 

 
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 217 of 221

Flaherty Testimony, Cont. (Page 3)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Date Case and Court Attorney Client | On Behalf Of
3/1/2017 | Desheria Gaines v. 2 Smart Communications LLC | Dan Whitney Desheria Gaines
Deposition | in the Circuit Court of Maryland for Baltimore
County (24-C-16-002216)
4/3/2017 | Amica Mutual Insurance Company a/s/o Jerry Larissa Byers Tuckers Air
Deposition | Pfeffer, et al. v. Tuchers Air Conditioning & Conditioning &
Heating, LLC in the Circuit Court for Montgomery Heating, LLC
County (423965-V)
4/21/2017 | Eser Ozdeger, et al. v. A/R Electrical Solutions, David Rubino Macon
Deposition | Inc. in the Circuit Court for Montgomery County, Construction
Mayland (422731-V)
7/6/2017 | Desheria Gaines v. 2 Smart Communications LLC | Dan Whitney Desheria Gaines
Trial | in the Circuit Court of Maryland for Baltimore
County (24-C-16-002216)
11/15/2017 | Sentinel Insurance Co., et al. v. Unilever United Gus Sara Yonas, Inc. (one
Deposition | States, Inc., et al. and Quaj Enterprises Inc., et al. v. of the plaintiffs)
Unilever United States, Inc., et al. in the Superior
Court for the District of Columbia (2015 CA
007536 B and 2016 CA 001808 B)
11/29/2017 | The Harford Mutual Ins. Co. v. Mona Electric Diane Moir The Harford
Deposition | Group in the Circuit Court for Maryland for Prince Mutual Ins. Co.
George’s County (CAL17-07976)
1/5/2018 | Todd Levine v. GBG, Inc. t/a Gold’s Gym in the Robert Ferguson Gold’s Gym
Deposition | Circuit Court for Montgomery County, Maryland
(419811-V)
2/22/2018 | Todd Levine v. GBG, Inc. t/a Gold’s Gym in the Robert Ferguson Gold’s Gym
Trial | Circuit Court for Montgomery County, Maryland
(419811-V)
6/26/2018 | The Harford Mutual Ins. Co. v. Mona Electric Diane Moir The Harford
De Bene Esse | Group in the Circuit Court for Maryland for Prince Mutual Ins. Co.
Deposition | George’s County (CAL17-07976)
6/27/2018 | James Brown, et al. v. Hamilton Beach Brands, Inc. | Charles Fratus Allstate Insurance
Deposition | in the Circuit Court for Anne Arundel County (C- (James Brown)
02-CV-17-003173)
8/14/2018 | Nationwide Mutual Fire Insurance Company a/s/o | Kristen Dorsey Nationwide
Deposition | Orest Lasuk v, Honeywell International, Inc., et al. (Lasuk)
in the Circuit Court for Anne Arundel County (C-
02-CV-18-000017)
10/24/2018 | Harry Workman v, Axalta Coating Systems in the | James Liskow Axalta Coating
Trial | United States District Court for the Western Systems
District of Virginia (5:17cv00108)
2/15/2019 | State Auto Property and Casualty Insurance Gary L. Weber Kim Eagan
Deposition | Company v. Kim Eagan Woods in the United Woods
States District Court for the Middle District of
Pennsylvania (Civil No. 4:17-02099-MWB)
6/11/2019 | Wright, et al. v. Ace Hardware Corp., et al. in the Tamara B. Ace Hardware
Deposition | Circuit Court for Kent County Maryland (C-14- Goorevitz

 

CV-17-000044)

 

 

 

 
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 218 of 221

Flaherty Testimony, Cont. (Page 4)

 

 

 

 

 

Date Case and Court Attorney Client | On Behalf Of
9/13/2019 | XL Speciatly Insurance Co. v. Jeanneau America, | Christopher M. XL Specialty
Deposition | Inc. et al. in the United States District Court for the | Schierloh Insurance
District of Maryland (Civil Action No. 1:18-cv-
2703)
9/30/2020 | Greg Subiszak, et al: v. Aztec Motel and Marsden | Jared K. Levy Aztec Motel
Deposition | and Sons Electric in the Superior Court of New
Jersey, Cape May County (L-000558-17)
10/1/2020 | Robert Ritchie, Jr. v. Baltimore Gas and Electric Jason Foltin BGE
Deposition | Company and Middle River Station Development

 

in the Circuit Court for Baltimore City (24-C-19-
004533

 

 

 

 
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 219 of 221

 

 

EXHIBIT
Flaherty-4

ovo72. ——«|EB

taobdles’

 

 

 
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 220 of 221

RETAINED BY COUNSEL.
Case 2:19-cv-03529-MMB Document 32-6 Filed 01/27/21 Page 221 of 221

 

|

 

 

 

 

 

    

EXHIBIT
Flaherty-6

01/07/21 JEB

     

 

 
